     Fill in this information to identify the case:

     United States Bankruptcy Court for the:

     Western District of Texas

     Case number (If known):                                 Chapter 15                                                                        ❑ Check if this is an
                                                                                                                                                 amended filing


Official Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                 12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor's name and case number (if known).



1. Debtor's name
                                               Charles Kharouf


2. Debtor's unique identifier                  For non-individual debtors:

                                                   ❑     Federal Employer Identification Number (EIN)

                                                   ❑     Other                                     . Describe identifier


                                               For individual debtors:

                                                   ❑     Social Security number:     xxx — xx—

                                                   CI    Individual Taxpayer Identification number (ITIN): 9 xx — xx —

                                                   Qi Other      XXXXX6134                           Describe identifier   Canadian Social Security #


3. Name of foreign
      representative(s)                        MNP TRUSTEE, LTD

4. Foreign proceeding in which
   appointment of the foreign                  Consumer Proposal No. XX-XXXXXXX Superintendent Office Laval Superior Court
   representative(s) occurred

5. Nature of the foreign                       Check one:
      proceeding
                                                   Foreign main proceeding
                                                   Foreign nonmain proceeding
                                               0   Foreign main proceeding, or in the alternative foreign nonmain proceeding


6. Evidence of the foreign                     ❑   A certified copy, translated into English, of the decision commencing the foreign proceeding and
   proceeding                                      appointing the foreign representative is attached.

                                                   A certificate, translated into English, from the foreign court, affirming the existence of the foreign
                                                   proceeding and of the appointment of the foreign representative, is attached.

                                                   Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
                                                   representative is described below, and relevant documentation, translated into English, is attached.
                                                   Notice of Suspension of Proceedings from Superior Court of the District of
                                                   Quebec

7.    Is this the only foreign                 ❑   No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
      proceeding with respect to                   debtor is pending.)
      the debtor known to the
                                               121 Yes
      foreign representative(s)?



Official Form 401                                  Chapter 15 Petition for Recognition of a Foreign Proceeding                                   page 1
Debtor       Charles Kharouf                                                             Case number ((t known)
             Name



8. Others entitled to notice   Attach a list containing the names and addresses of:
                               (i)     all persons or bodies authorized to administer foreign proceedings of the debtor,
                               (ii)    all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this
                                       petition, and
                               (iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.


9. Addresses                   Country where the debtor has the center of its                    Debtor's registered office:
                               main interests:


                               Canada
                                                                                                 Number           Street


                                                                                                 P.O. Box


                                                                                                 City               State/Province/Region    ZIP/Postal Code



                                                                                                 Country




                               Individual debtor's habitual residence:                          Address of foreign representative(s):


                               201-427 Etienne-Lavoie                                            1155 Boul. Rene-Levesque Ouest
                               Number         Street                                            Number            Street

                                                                                                 19th Floor
                               P.O. Box                                                         P.O. Box

                               Laval, Quebec H7X OB9                                             Montreal Quebec H3B4V2
                               City                State/Province/Region   ZIP/Postal Code      City                State/Province/Region    ZIP/Postal Code


                               Canada                                                            Canada
                               Country                                                          Country




to. Debtor's website (URL)     n/a


it. Type of debtor             Check one:

                               ❑      Non-individual (check one):

                                        ❑    Corporation. Attach a corporate ownership statement containing the information
                                             described in Fed. R. Bankr. P. 7007.1.

                                             Partnership

                                             Other. Specify:

                                      Individual




 Official Form 401                    Chapter 15 Petition for Recognition of a Foreign Proceeding                                           page 2
Debtor      Charles Kharouf                                                            Case number ter.)
             Name




12. Why is venue proper in this   Check one:
   district?                           Debtor's principal place of business or principal assets in the United States are in this district.
                                      Debtor does not have a place of business or assets in the United States, but the following
                                      action or proceeding in a federal or state court is pending against the debtor In this district:
                                       Case No. 3:19-cv-00196-KC; FTC, et al v. Charles Kharouf, et al
                                  ❑ If neither box is checked, venue is consistent with the interests of justice and the convenience
                                       of the parties, having regard to the relief sought by the foreign representative, because:




13. Signature of foreign
                                   request relief in accordance with chapter 15 of title 11, United States Code.
   representative(s)
                                  I am the foreign representative of a debtor in a foreign proceeding, the debtor is eligible for the
                                  relief sought in this petition, and I am authorized to file this petition.

                                  I have examined the information in this petition and have a reasonable belief that the
                                  information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct,


                                                                                                MNP Trustee LTD by Olivier Boyd
                                     Signature of foreign r    esentative                       Printed name


                                  Executed on                Id do/ 67
                                                     MM      001




                                       gnature of foreign r        senta                        Printed name


                                  Executed on
                                                     MM 1001



14. Signature of attorney                                                                       Date        0740A0//
                                      Signature of     omey 1' foreign representative                       MM      f DO / YYYY


                                     Aldo R. Lopez
                                     Printed name
                                    Ray Pefia McChristian, P.C.
                                     Firm name
                                     5822 Cromo Dr.
                                     Number         Street
                                    El Paso                                                       Texas          79912
                                     City                                                           State            ZIP Code


                                     (915) 832-7200                                                  alopez@raylaw.com
                                     Contact phone                                                  Email address



                                     24060185                                                       TX
                                     Bar number                                                     State




 Official Form 401                    Chapter 15 Petition for Recognition of a Foreign Proceeding                                    page 3
                                                                                              e         0

I4,     Industry Canada                Industrie Canada                                        CANADA
                                                                                     1.01651LAMIME El ummx WMUA
                                                                                       BIMIXUPTCY MIDINSclitimY m'l
                                                                             f
        Office of the Superintendent   Bureau du surintendant
        of Bankruptcy Canada           des faillites Canada
        District of QUEBEC
                                                                                        2 7 MT 2019
        Division No. 01 - Laval
        Court No. XX-XXXXXXX
                                                                     to;Pj
        Estate No. XX-XXXXXXX
                                               In the Matter of the Proposal of:
                                                           Charles KHAROUF
                                                                Debtor

                                                          MNP LTD / MNP LTEE
                                                           Administrator



Date of Proposal:        May 30, 2019, 14:48

Meeting of Creditors: July 31, 2019, 09:45
                      500, boul. St-Martin Ouest, Bureau 520
                      Laval, QUEBEC


Chair:Trustee


         CERTIFICATE OF FILING OF A CONSUMER PROPOSAL -             Section 66.13

I, the undersigned, Official Receiver in and for this bankruptcy district, do
hereby certify, that:

  - the aforenamed debtor filed a consumer proposal under section 66.13 of
    the Bankruptcy and Insolvency Act.


The aforementioned administrator is required:


    to provide to me, a report on the results of the administrator's
    investigation, the administrator's opinion on the reasonableness and
    fairness of the proposal, a condensed statement of affairs and a list of
    creditors;


  - to send to every known creditor, a copy of the proposal, a copy of the
    aforementioned report and a proof of claim; and


  - where applicable, to call in the prescribed manner, a meeting of
    creditors, to be held at the aforementioned time and place or at any
    other time and place that may be later requested by the Official
    Receiver.




                                                                    Date: August 27, 2019

              E-File / Depot electronique                                Official Receiver


Sun Life Building, 1155 Metcalfe Street, Suite 950, Montreal, QUEBEC, H35 2v6,
                                 877/376-9902




       Canada
CANADA                                                       SUPERIOR       COURT
DISTRICT OF QUEBEC                                                Civil Chamber

REF : EPI9CV0196

BY FAX, E-MAIL AND MAIL

To:     Federal Trade Comission    Ohio Attorney General's Office     United State District Court
        Att : Christopher E.Brown/ Consumer Protection Section        Western District of Texas
        J. Ronald Brooke Jr.       Att : Jeffrey Loeser / Erin Leahy  U.S District Clerk's Office
        600 Pennsylvania Avenue NW 30 E. Broad Street, 14th floor     655 E. Cesar E. Chavez Blvd
        Washington (DC) 20580      Colombus (OH) 43215                Room G65
        Mailstop CC-8528           Jeff.loeser@ohioattomeygeneral.gov San Antonio (TX) 78206
        Fax : 202-326-3395         Erin.leahy@ohioattorneygeneral.gov


                       NOTICE OF SUSPENSION OF PROCEEDINGS
                                           (Article 69)

Dear Mrs. and Mr,


            RE : Federal Trade Commission and State of Ohio ex. rel. Attorney General
                                                                       Requesting Party
                                              • VS •


                                       Charles KHAROUF
                                                                            Debtor


PLEASE BE ADVISED that Charles KHAROUF, tiled a consumer proposal on the May 306'2019 in a
file bearing the number XX-XXXXXXX of the Superintendent Office, Division of Laval (of the
Superior Court, District of Quebec), and the undersigned, MNP LTD, was appointed Trustee of
the estate of the proposal.

And further, TAKE NOTICE that in accordance with Section 69 and 73(2) of the Bankruptcy
and Insolvency Act, all proceedings against the debtor are hereby suspended until the Trustee has
been discharged except with the authorization of the Tribunal and on such conditions the
Tribunal may impose.


DATED, this August 19' 2019 at Montreal

MNP Ltd



Olivier 1315 ,     , CMA, CIRP, LIT
Vice Pre      nt

OB/jb
COURT No..
NO. SURINTENDANT: XX-XXXXXXX

          SUPERIOR                COURT

IN THE MATTER OF A CONSUMER PROPOSAL :
Charles KHAROUF
                                              Requesting
                                              Party
                         - VS -

MNP TRUSTEE LTD
                                              Trustee

                         -and-
FEDERAL TRADE COMMISSION AND STATE
OF OHIO EX REL. ATTORNEY GENERAL

                                              Garnishee

NOTICE OF SUSPENSION OF PROCEEDINGS
              (Section 69)


                    Copy for :
                    Courthouse
                  Financial services

MNP TRUSTEE LTD
Authorized Trustee in Insolvency
1155, Boul. Rend-Ldvesque Ouest, 19th floor
Monto.Sal, Queue H3B 4V2
Phone No : 514-932-4115
Fax No : 514-932-9195
1+1           Industrie Canada           Industry Canada
              Bureau du surintendant     Office of the Superintendent
              des faillites Canada       of Bankruptcy Canada

District de       Quebec
No division :     01 Laval
No court          XX-XXXXXXX
No dossier :      XX-XXXXXXX
                                                             Dans l'affaire de la proposition de :
                                                                         Charles KHAROUF
                                                                              Debiteur
                                                                        MNP LTD / MNP LTEE
                                                                          Administrateur


Date de la proposition .               30 mai 2019

Assemblee des creanciers :
President :


                CERTIFICAT DU DEPOT D'UNE PROPOSITION DE CONSOMMATEUR - Article 66.13




Jo soussigne, sequestre officiel pour ce district de faillite, certifie par les presentes que :
    une proposition de consommateur a regard du debiteur susmentionne a ate deposee en vertu de ('article
    66.13 de la Loi sur la Militia et l'insolvabilite,


L'administrateur susmentionne doit :
    me foumir un rapport sur les resultats de renquete gull a effectuee, son avis sur le caractere juste et
    raisonnable de la proposition, un Mat succinct des affaires du debiteur consommateur et une liste des
    creanciers;
    envoyer a tous les creanciers connus une copie de la proposition, une copie du rapport susmentionne et la
    formule de preuve de reclamation; et
    le cas Oct-leant, convoquer de la maniere prescrite une assemble des creanciers, qui aura lieu a la date et a
    I'endroit susmentionnes, ou a telle autre date et tel autre endroit, salon ce que pourra demander plus tard le
    sequestre officiel.




                                                                                        Date : 30 mai 2019, 14:48
E-File/Depat Electronique                                                                        Sequestre officiel
                                  , 1155, rue Metcalfe, Bureau 950, Montreal Canada, H3B2V6, (877) 376-9902

Canada
   Distriatat             Quebec
   Division No.           01-Laval
   CourIfio.
   Estate No.              41.2517837


                                                                           _FORM 49_
                                                          Notice lo Coogan of Consumer Proposal
                                                                 (Paragraph 68.14) of the Ad)
                                                              tre mend al the =manor proposal of
                                                                        Charles 10fAROUF
                                                         of the city of Lent in the Province of Quebec
      Take noise that

       1 Chats KliAPIOUF, a consumer debts, made a consumer proposal under sedan 06.13 of the Act on the 29th day d May 2019 sod a
 carry ol d and the presorted statement of Alin. oat fled rift the didtl mother by on, kilfP !NEE the administrate d the yawner
 proposal on the 30th day of May 2019

      2 Attschsd tofhis notice ore the kanwing dammed*

      (a) e copy of dte consumer proposal,
      (b) a ocey of our report on are consumer proposal. which was Ned Oh the oNcial receiver on the 3/3411 day of Nay 2919; aid
      (c)aropyclha statement oi drake referred to kt paragraph 68-13(2X0) d ewe Ado and
      (d) a prodof claim.

       3. My deed who has done a dam may indicate eases b or (silent tram the consumer proposal at or prior to a meeting or credtors.
or prior b the eaciatico of the 45-day period foloning the 55ng of the cansurrer proposal (Note: Form 371, Votitg Leger, may be used by the
creditor to imisoate asserdIt or &sent Mon she consumer proposal and to request that a meeting of orechkes be held).

      4. Any dissent I rearm. however, Ii not e request for a meet% d orraraxe for the propose of paragraph 68.15(2Xb) or, the kt, and am
nol be coddad b a vote on the corrsumer proposal Weis I am required to rata meeting of area= pursuant b section 60.15 of the Act.

      5.1at be required la cabernetlog cf alders only d, ;issued lo seam 65.15 of the Act
         (a) 1 am deeded b do so by the offstial receiver *thin the 45.day pool after the ling al are consulter proposak err
         (b) at the aqskalion of the 45-4ay period after the Etna of the consumer propcsal crodkes having In the aggregate at least 25 percent
         ot the Wee Odom dales have so requested.

       8. IC valtin the 454ay period mentioned at paragraph 5. I am nal required b cal a meeting d awkass, the cortStallet proposal shall, by
virtue of wheeler 55.19(1) riffle Ad, be deemed lo have been sampled by eve adttors regardless of any &soa(s) I may base received

      7, ln the rind that the consumer proposal has been accepted or 6 deemed to have been scosplod by the =Nom, I rd apply lo the
court It meow the nonsomer proposal only ti, 9teSuenl b section 66_22 of the Ad. 1 am requesid to do to by the &Wel toatisra ow any other
totem* pony ruin 15 days afar the day c4 acceptinai or deemed acceptance of the constant proposal

    4. IL within the 154sy paled mentioned al paragraph 7. 1 am not requested It apply It the                  court   Is review the cossurner propose!. the
=sumer proposal is deemed It be approved by the court


   Dated at be City ofImol ki the Province of Etrobec. thq 27th day of Aragus12019


   keNP JAE • licensed Insolvency Tmstee
   Per


   Cinier Boyd -UT,Askninistreld of arreener Proposal
   1155, bx4. RenAteresque Cued 19. Otago
   Mooted QC ICBM
   Phone (514)9124115 Far (514) 932.9195                                                                                   Cute1113            arc Etta.


                                                                                                                                                                        °''ter
                                                                                                                                                                       ..)$.8
                                                                                                                                                                  a'

                                                                                                                                                     ‘...1....i....    ....nsi




                                                                       Pop 1of 1
 Distrid of:          Quebec
 Division No.         01 • Laval
 Court No.
 Estate No.          XX-XXXXXXX


                                                                      — FORM 48 —
                                                      Report of Administrator on Consumer Proposal
                                                                (Section 66.14 of the Ad)

                                                             In the matter of the consumer proposal of
                                                                          Charles KHAROUF
                                                           of the city of Laval, in the Province of Quebec
 We, MNP LTP_E, of 1155, bout. Rene-Levesque Quest, 19e Maga, Montreal, QC, H3B 4W, the administrator of the consumer
 proposal of Charles KHAROUF, a consumer debtor, hereby report to the official receiver as follows:

 1. That the consumer debtor made a consumer proposal on the 29th day of May 2019 and that we filed a copy of fi with the official
 receiver on the 29th day of May 2019.

 2. That we have investigated, or have had investigated, the consumer debtor's property and financial affairs so as to be able to
 assess with reasonable accuracy the consumer debtor's financial situation and the cause of the consumer debtor's insolvency,


 3. That attached to this report is the consumer debtor's statement of affairs and a fist of the cream whose claims exceed $250.


4. That we are of the opinion that the cause or causes of the consumer debtor's insolvency are as totows:

            Les difficultes financieres des socieles ont ete supporthes par fadministrateur 'aide de sea diverses cartes
            at merges de credits personnelles.
            Les societes ne sont pas en operations.
5. That we are also of the opinion, for the following reasons, that the consumer proposal is reasonable and fair to both the consumer
debtor and the creditors, end that the consumer debtor writ be able to perform it

            - Les defies n'ont pu etre consolidees:

            • Le dobtbiur ne souhaite pas faire cession;

            -Les crianciers recevront un dividends net approximatif de 6% dans la proposition comparativement
            aucun dividends dans un contexts de fares.
Dated at the City of Laval in the Province of Quebec, this 29th day of May 2019.

MNP LTEE - Licensed Insolvency Trustee
Per.


Olivier Boyd - LIT, Administrator of Consumer Proposal
1155, bout. Rene-Levesque Quest, 19e etage
Montreal QC H3B 4V2
Phone: (514) 932-4115 Fax: (514) 932-9195




                                                                       Page 1 of 2
                                                                FORUM —Concluded


                                                 Ltst of Creditors with claims of 0250 or mom.


             Creator                          Address                                                     Claim Amount

Agents du menu du Quebec      Unice des dossiers de MNWs                                   Ref 16844349        35,897.00
Direction **ale du            1265 boulevard Chalet 0 fie Maga sacieut C65 6I
recouwernera                  Durkee QC GIN 4V5
Banque Laurentienne du        100.955 Bad de Maisomeuve E                                                       3,000.00
Canada                        MedialDC H2L 1Z3
Centre de recouvremenl
Banque Laurentienne du       100 - 955 Bad de Maisorneuve E                                                     3,000.00
Canada                       Montreal OC H2L 172
Centre de recotraement
Centre de perception         2489, me Saint-Dominique                                                           1,100.00
Desjarems                    Jonquiere QC G7X 6K4
CIBC do TECHCOM              84150 Hwy 7, PO Box 436                                                            9,000.00
Managed Services             Woodbridge ON L4H ORB
MBNA Insane Global Cruet    I do TECHCOM Managed Services Inc.                                                  5.000.00
Fund III,LP.                  66150 Hwy 7, PO Box 487
                              Woodbridge ON L4H ORB
BBC Royal Bank Banque        PO Box 57100                                                                      25,000.00
Royal.                       Eloticolie ON 1.48Y 3Y2
do Banlauptcyflighwaycorn
Rogers Communications /      do PCT Dermal Solutions                                      8-00794317
CBV Cceection                PO Box 2514 Station B
                             London ON NBA 4G9
ID Canada Trust              4720 Tahoe Blvd, 3rd Fir, Bldg 1                                                   3,000.00
CC&R Insolvency and Credt    Mississauga ON L4W 5P2
Counseling
TO Canada Trust              4720 Tahoe Blvd, 3rd Fir, Bldg 1                                                  6000.00
CC8R Insolvency and Croat    Misiiissan21ON L4W 5P2
C      og

            Total                                                                                              91,01340




                                                                Page 2 of 2
 District of:           Quebec
 Division No.           01 - Laval
 Court No.
 Estate No.              XX-XXXXXXX
                                                                                  - FORM 47 -
                                                                               Consumer Proposal
                                                                      (Paragraph 66.13(2)(c) of the Act)
                                                                  In the matter of the consumer proposal of
                                                                               Charles KHAROUF
                                                                of the city of Laval, in the Province of Quebec

 I, Charles KHAROUF, a consumer debtor, hereby make the following consumer proposal under the Act:

 1. That payment of the claims of secured creditors be made in the following manner.
     SANS OBJET

 2. That payment of all claims directed by the Act to be paid in priority to other claims in the distribution of my property be made in the following
 manner.
     Elles saront payees confonnement au paragraphs 136(1) en prksite des autres creanciers non garantis, la cas echeant.

 3. That payment of the fees and expenses of the Administrator of the consumer proposal and payment of the fees end expenses of any person in
 respect of counselling given by this person pursuant to the Act be made in the following manner.
     Les honoraires et depenses de Padministrateur seront payee confixrnement aux dispositions des paragraphes 129 et 131 des Regles
     regissant la Loi sur la faillite et l'insotvabilite.

 4. That the following payments be made to MNP LTEE, the Administrator of the consumer proposal, for the benefit of the unsecured creditors:
    Le debiteur s'engage a remettre la somme de 9 000$ é raison de 60 versemerds mensuels consecutifs de 150$. Le premier versement
    devra etre effectue 30 jours suivants le depOt de la proposition de consommateur. Dens to contexte ou sa situation financiere le lui permettra,
    le debiteur palate plus rapidement sa proposition.

 5. That the Administrator of the consumer proposal distribute the monies received to the unsecured creditors in accordance with the following
 schedule:
    La distribution aux creanciers non garantis sem effectuee tousles douze (12) moil a compter de la date d'acceptation ou d'approbalion par la
    Cour de la proposition de consommateur, a condition qu'un montant minimum de 5 000$ soft disponible pour distribution dans le compte
    bancaire.

6. That the proposal includes the following additional terms:
    a) Les &tenders peuvent nommer un 'tomtits maximal de trois inspecteurs charges de la proposition de consommateur du debiteur
    consommateur et en plus des pouvoirs qua leur confers la Loi, cas inspecteurs peuvent etre autorises it approuver toute modification de la
    proposition de consommateur sans convoquar d'assemblee de creanciers, lorsqu'une tete modification vise Ilicheancier et to mordant des
    paiements que doivent faire le debiteur consommateur et n'entraine pas de changement dans le martian( a payer ; et

    b) en ('absence dinspecteurs nommes, l'administrateur de cette proposition de consommateur, dolt avoir le pouvoir de proroger fa dela' pour
    la realisation dun paiement qui devait etre fait conformement a cette proposition, aucune prorogation ne "levant depasser les cinq ans suivant
    ['approbation de cette proposition par le Tribunal ; et

    c) que toute demands (nimble en vertu de cette proposition de consommateur, par sa Majeste la Reine du chef du Canada (ARC) et du
    chef de toute la province (MRQ) dolt indure tousles impOts, les intents et les penalites qui soot payables a regard du revenu gagne par le
    debiteur consommateurjusqu'a la date de la p►oposition soumise aux droits de ('ARC et jusqu'a Panne° precedente de la proposition soumise
    aux drab du MRQ, independamment de la date devaluation reelle ou imposition de ces impets, des !Monks et des penalties. Site debiteur
    consommateur devrait avoir droll au remboursement de 19mp6t sur le revenu regard de toute periods de temps antarieure a la date du depot
    de cette proposition de consommateur, ce remboursament viendrait en diminution des redamations prouvabtes de PARC et du MRQ en vertu
    de cette proposition de consommateur ; et

   d) sur reception de la proposition, km* somme d'argent dilemma par le centre de perception du palais de justice suite a une saisie devra etre
   remise a sans &lei a I'administrateur de la proposition de consommateur et appliques contra les termes de la proposition de consommateur,
Dated at the City of Laval in the Province of Quebec, this 29th day of May 2019.


                     OLNtER BOYD                                                                                                        Charles KHAROUF
                       Witness                                                                                                           Consumer Debtor



                                                                               Page 1 of 1
District of              Quebec
Division No.             01- Laval
Court No.
Estate No.               XX-XXXXXXX
                                                                                            - FORM 79 -
                                                                        Statement of Affairs (Proposal made by an individual)
                                              (Subsection 49(2) and 158(d) alb) Act 1Subsections 50(2) end 62(1) and Paragraph 66.13(2)(d) of the Ad)


                                                                                                                                                         0             fl mended
                                                                             In the matter of the consumer proposal of
                                                                                          Charles KHAROUF
                                                                           of the city of Laval, in the Province of Quebec

                                                                                             ASSETS

                                                                                                                             Estimated      I Exempt         Secured       Estimated net
                            Type of assets                                 Description (Provide details)                       Dollar         Pr eti f       Amount/      realizable dollar
                                                                                                                               Value         Yes No           Liens             value
        1. Cash on Hand

        2. Furniture                                          Ameublement                                                        3,000.00     x                    0.00               0.00

         3. Personal Effects

        4. Policies & RRSPs

        5. Securities                                         50% acticrnnalre - 9384-1898 Quebec Inc. • EN                         1.00           x               0.00               1.00
                                                              DEMARRAGE Er SANS ACTIF

                                                              100% actionnaire - 9322-4756 Quebec Inc. -                            1.00           x              0.00                1.00
                                                              INOPERANTE ET SANS ACTIF

                                                              100% actionnaire - Simple Sao •INOPERANTE                             1.00           x              0.00                1.00
                                                              ET SANS ACTIF

                                                              100% actionnaire - Evollo Call - INOPERANTE                           1.00           x              0.00                1.00
                                                              ET SANS ACTIF
       —— —
       6. Real Property or            House
       Immovable
                                      Cottage

                                      Land

        7. Motor Vehicles             Automobile             Mini Cooper 2007- BLACKBOOK VALUE                                  1,418.00     x                    0.00               0.00

                                      Motorcycle

                                      Snowmobile

                                      Other

       O. Recreational
       Equipment

       9. Taxes

                                                                                                           TOTAL                4,422.00                          0.00               4.00




                            29-May-2019
                               Date                                                                                                                    Charles KHAROUF
                                                                                                                                                            Debtor

                                                                                          Page 1 of 5
District of               Quebec
Division No.              01 - Laval
Court No.
Estate No.               XX-XXXXXXX                                                      FORM 79 — Continued


                                                                                             LIABILITIES

          I./abides type code 6.TC):      1Real Property c immovable Mortgage cr Hypothec                5 Credd Cords Other tssuers
                                          2 Bank Loans (except real property mortgage}                   8 Taxes FedereVProvincialAttmicipal
                                          3 Finance Company Loans                                        7 Student Loans
                                          4 Gordt Cards Bankrimst Companies Issuers                      8 Loans from Indviduais
                                                                                                         9 Other
                                                                                                                                                  Amount of debt                       Enter
                          Creditor                       Address including postal code                  Account No.
                                                                                                                                                                                       LTC
                                                                                                                               Unsecured              Secured           Preferred
        Agence du revenu du Quebec                   Service des dossiers de faitites           (NEQ:1170951546)                           0.00                 0.00            0.00    5
        Attn: Direction *locale du                   1265 boulevard Charest 0 6e                -Responsabifile
        recouvrement                                 etage secteur C65-6I
                                                     Quebec QC GIN 4V5

        Agence du revenu du Quebec                   Service des dossiers de ratites            (NEC]: 2270489307)                        0.00                  0.00            0.00    6
        Mn: Direction regionale du                   1265 boulevard Charest 0 6e                -Responsabifite
        recouvrement                                 etage secteur C65-6I
                                                     Quebec QC GIN 4V5

        Agence du revenu du Quebec                   Service des dossiers de tailless           0810811989                                0.00                  0.00            0.00    6
        Attn: Direction regionals du                 1265 boulevard Charest 0 6e
        recouvrement                                 Mace secteur C6543I
                                                     Quebec QC GIN 4V5

        Agence du menu du Quebec                     Service des dossiers de faillites          Ref: 16844349                       35,697.00                   0.1/0           0.00    6
        Ann: Direction regionale du                  1265 boulevard Charest 0 6e
        recouvrement                                 stage secteur C65-61
                                                     Quebec QC GIN 4V5

        ARC - Taxe - Quebec                         Shawinigan-Sud National                     (NEQ: 2270489307)                         0.00                  0.0C            0.00    6
                                                    Verification and Collection Centre          -Responsabilite
                                                    4895 Shawinigan-Sud Blvd
                                                    Shawinigan-Sud QC G9P 5119

        ARC - Taxa - Quebec                         Shavrinigart-Sud National                   08/0811989                                0.00                0.00             0.00     6
                                                    Verification and Collection Centre
                                                    4695 Shawinigan-Sud Blvd
                                                    Shawinigan-Sud QC G9P 5119

        ARC - Tans - Quebec                         Shawinigan-Sud National                     )NE0:1170951546)                          0.00               0.00              0.00     6
                                                    Verification and Collection Centre          -Responsabilite
                                                    4695 Shawinigan-Sad Blvd
                                                    Shawinlgan•Sud OC G9P 5119

       Banque Laurentienne du Canada                100.955 Boul de Maisonneuve E                                                    3,000.00                0.00              0,00    2
       Attn: Centre de recouvrement                 Montreal QC H21123

       Banque Leurentieme du Canada                 100 - 955 Boul de Maisonneuve E             Marge                                3,000.00                0.00              0.00    2
       Attn: Centre de recouvrement                 Montreal QC H2L 1Z3

       Centre de perception Des)attlins             2489, rue Saint-Dominique                                                        1,100,00                0.00              0.00    9
                                                    Jonquiere 00 G7X 6K4

       COX do TECHCOM Managed                       6-6150 Hwy 7, PO Box 486                                                         9,000.00                0.00              0.00    9
       Services                                     Woodbridge ON L4H ORB

       CSC do TECHCOM Managed                       643150 Hwy 7, PO Box 486                   13-29812                                150.00                0.00              0.00    9
       Services                                     Woodbridge ON L4H OR6




                          29-May-2019
                               Date                                                                                                                   Charles KHAROUF
                                                                                                                                                            Debtor

                                                                                           Page 2 of 5
District of            Quebec
Division No.           01 -Laval
Court No.
Estate No.             XX-XXXXXXX                                          FORM 79 — Continued


                                                                                 LIABILITIES

                                                                                                                        Amount of debt                      Enter
                       Creditor                 Address including postal code             Account No.
                                                                                                                                                            LTC
                                                                                                        Unsecured           Secured          Preferred
        MBNA / Insetve Global Credit Fund   do TECHCOM Managed                                               5,000.00                 0.0O           o.ort 9
        lit, LP.                            Services Inc.
                                            6-6150 Hwy 7, PO Box 487
                                            Woodbridge ON L4H 0R6

        RBC Royal Bank I Banque Royale      PO Box 57100                                                    25,000.00                 0.00           COO     2
        Attn: do Bankruptcyllighway.com     Etobicoke ON MSY 3Y2

        Rogers Communications! CBY          do FCT Default Solutions                 6-00794317              1,216,00                 0.00           0.00    9
        Collodion                           PO Box 2514 Station B
                                            London ON N6A 469

        TO Canada Trust                     4720 Tahoe Blvd, 3rd RG Bldg 1           Marge                   3,000,00                 0.00           aoa     9
        Mn: CC&R Insolvency and Credit      MigticcAuga ON L4W 5P2
        Counselling

        TO Canada Trust                     4720 Tahoe Blvd, 3rd Fir, Bldg 1                                 5,000.00                 ood            0,00    5
        Attn: CC&R Insolvency and Credit    Mississauga ON L4W 5P2
        Counselling
                                            --....,                                                                                                              4
                                                           TOTAL                          Unsecured        91,163.00

                                                           TOTAL                              Secured                                 0.00

                                                           TOTAL                          Preferred                                                  0.00

                                                                                                                                TOTAL          91,163.00




                       29-May-2019
                           Dale                                                                                             Charles KHAROUF
                                                                                                                                  Debtor

                                                                                Page 3 of 5
District of              Quebec
Division No.             01- Laval
Court No.
Estate No.               XX-XXXXXXX                                                   FORM 79 — Continued


                                                           INFORMATION RELATING TO THE AFFAIRS OF THE DEBTOR
         A. PERSONAL. DATA
          1. Family name:                                        Given names:      Charles                                     Date of birth: YYYY f MM f DD
                KNAROUF                                          Gender            Male                                                       1989108/08

         2. Also known as:

         3. Complete address, Including postal code:
               201-427 Etienne-Lavoth
               Laval QC H7X 089


         4. Marital status:                                                                    Common-law
         (Specify month and year of event if it occurred In the last five years)

         5. Full name of spouse or common-law partner                Annie FOUCAULT

         6. Name of present employer.                                                         Occupation:
               Galion de capital Westgate                                                        Developpeur informatque (Temps plain)

         7k Number of persons in household family unit, induding debtor:                                                                  2

         78. Number of persons 17 years of age or less:                                                                                   0

         8. Have you operated a business within the last five years?                                                                     Yes

               Business Name                                                        Business Type                                             From             To
               9384-1898 QUEBEC INC.                                                SOCIETES DE PRETS A LA                                05-,Sep-2018
                                                                                    CONSOMMATION
               SIMPLE SEQ (Enregistre a Delaware. Numero:                           AGENCE PRESTATAIRE DE SERVICES                        01-Jan-2018       30-Jun-2018
               4580339)                                                             INTERNET
               EVOL10 CALL (Enregistre a Santo Domingo,                             CENTRE D'APPELS                                       02-May-2017       30-Jun•2018
               Republique Dominicaine. Enregistrement 472953)
               9322-4756 QUEBEC INC.                                                AGENCE DE PUBLICITE                                   12-May-2015       30-Aug-2016
               DEVCOSTRAT MARKETING ET FORMATION                                   BUREAUX DE CONSEILLERS EN                              12-Dec-2014       20-Jun-2018
                                                                                   GESTION

        ELSEWHERE:
        9A. Sold or disposed of any of your property?                                                                                No

        98. Made payments In excess of the regular payments to auditors?                                                             No

        9C. Had any property seized by a auditor?                                                                                    No

        C, WITHIN FIVE YEARS PRIOR TO THE DATE OF THE INITIAL BANKRUPTCY EVENT, HAVE YOU, EITHER IN CANADA OR
        ELSEWHERE:
        10A. Sold or disposed of any property?                                                                                           Yes

        108. Made any gifts to relatives or others in excess of $5007                                                                    No

        D. BUDGET INFORMATION: Attach Form 65 to this Form.

        11A. Have you ever made a proposal under the Bankruptcy and Insolvency Act?                                                  No

        118. Have you ever been bankrupt before in Canada?                                                                           No




                         29-May-2019
                             Date                                                                                                                Charles KHAROUF
                                                                                                                                                       Debtor

                                                                                          Page 4 of 5
District of             Quebec
Division No.            01 -Laval
Court No.
Estate No.              41.2517037                                                  FORM 79 — Concluded

          12. Do you expect to receive any sums of money which are not related to your normal income, or any other property within the
          next 12 months?          No
          13.11you answered Yes to any of questions 9, 10 and 12, provide detab:

                 10A:
                 En janvier 2013, la debiteur et sa mere, Madame Bernadette Ego, ont achate rimmeubie sis au 4-810, rue Etienne-Lavoie a Laval,
                 province de Quebec. Le coetrat de vents (numero crinscription :19 693 0061stiputalt qua la mise de fonds effectuee enlierament
                 par Madame Ega, una somme de 45 000$, lui serait retournee advenant is revente de to malson. C'est einsi qu'en decembre
                 2016, a la suite de to vente de rinuneuble, requite a Me natoumee a Madame Ego.

         14. Give reasons for your financial difficulties:
                Les difficuttes Inancieres des societes ant eh/ suppodeas par radminisbrateur 8 raids de ses diversas cartes at merges da credits
                personnelles.
                Les societes no soot pas en operations.


           I, Charles 101AROUF of the Ville of Laval in the Province of Quebec, do swear (or solemnly declare) that this statement Is, to the best of my
       knowledge, a full, true and complela statement of my affairs on the 29th day of May 2019, and fully discloses all property and transactions of
       every description that is or was in my possession or that may devolve on me In accordance with the Bankruptcy and Insolvency Act.




       SWORN (or SOLEMNLY DECLARED)
       before me at the City ofLaval in the Province of Quebec, on
       this 29th day of May 2019.




       Olivier Boyd, Commissioner of Oaths
       For the Province of Quebec
       Expires December 9, 2021




                         29-May-2019
                             Date                                                                                                                Charles KHAROUF
                                                                                                                                                       Debtor

                                                                                       Page 5 of 5
District of                 Quebec
Division No.                01 - Laval
Court No.
Estate No.                  XX-XXXXXXX

                                                                        -FORM 65 -
                                         Monthly Income and Expense Statement of the Debtor and the Family Unit
                                                   and Information (or Amended Information) Concerning
                                                      the Financial Situation of the Individual Debtor
                                                (Section 68 and Subsection 102(3) of the Act Rule 105(4))


                                                                                                                 ado.'                       Amended

                                                           In the matter of the consumer proposal of
                                                                        Charles KHAROUF
                                                         of the city of Laval, in the Province of Quebec

Information concerning the monthly income and expense statement of the debtor and the family unit, the financial situation of the debtor
and the debtor's obligation to make payments required under section 68 of the Act to the estate of the debtor are as follows:


MONTHLY INCOME                                                        Debtor            Other Members of                                    Total
                                                                                          the family unit
   Nat employment income.                                                1,789.00
   Net pension/Annuities                                                       0.00
   Net child support.                                                          0.00
  Net spousal support.                                                         0.00
  Net employment Insurance benefits                                            0.00
  Net social assistance                                                        0.00
   Self-employment income
   Gross 0.00 Net                                                              0.00
  Child tax benefit . . ,                .......                               0.00
   Other net income                                                            0.00

TOTAL MONTHLY INCOME                                                     1,789.00 (1)                0.00 (2)*

TOTAL MONTHLY INCOME OF THE FAMILY UNIT ((1) + (2))                                                                                           1,789.00 (3)

MONTHLY NON- DISCRETIONARY EXPENSES

  Child support payments                                                       0.00
  Spousal support payments                                                     0.00
  Child care                                                                 0.00
  Medical condition expenses                                                 0.00
  Finesipenallies imposed by the Court                                       0.00
  Expenses as a condition of employment                                      0.00
  Debts where stay has been lifted                                           0.00
  Other expenses                                                             0.00

TOTAL MONTHLY NON-DISCRETIONARY EXPENSES                                     0.00 (4)                0.00 (5)
TOTAL MONTHLY NON-DISCRETIONARY EXPENSES OF THE FAMILY UNIT ((4) + (5))                                                                        0.00    (6)
AVAILABLE MONTHLY INCOME OF THE DEBTOR ((1)
- (4))                                                                  1,789.00 (7)
AVAILABLE MONTHLY INCOME OF THE FAMILY UNIT ((3) - (6))                                                                                    1,789.00    (8)
DEBTOR S PORTION OF THE AVAILABLE MONTHLY INCOME OF THE FAMILY UNIT                                                                         100.00 % (9)




                                                                       Page 1 of 2
                                                                   - FORM 65 - Concluded -
 MONTHLY DISCRETIONARY EXPENSES: (Family unit)
 Housing expenses                                                                Living expenses
              Renthnortgagerhypornec.                         613.00                        Food/grocery                                      275.00
             Property taxes/condo fees                           0.00                       Laundry/dry cleaning                                0.00
             HeatingIgaska                                      60.00                       Groominglloaetries                                 50.00
              Telephone. ,.... . „ • -          .... -          45.00                       Clothing                                           50.00
             Cable... , ... - ... . .. _ .....                   0.00                       Other                                               0.00
             Hydro                                             75.00             Transportation expenses
             Water                                               0.00                       Car lease/payments                                  0.00
             Furniture, ... ,... . ... . .... ,                  0.00                       Repair/maintenance/gas                              0.00
             Other . - - ... . . . .. , . .              t       0.00                       Public transportation                               0.00
Personal expenses                                                                           Other. Provisions transport                      420.00
             Smoking . „ .... - - . . - . . ,                    000            Insurance expenses
                                                                 0.00                       Vehicle                                             0.00
             DiningAunchesirestaurants..... , .                  0.00                       House                                              34.00
             Entertainment/sports. . .... ..                     000                        Furniture/contents.                                 0.00
             Gilts/charitable donations_ ... „                   0,00                       Life insurance                                      0.00
             Allowances                                         0.00                        Other                                               0.00
             Other, ... - . ......... ... -                     0.00            Payments
Non-recoverable medical expenses                                                            Payments to the proposal. - - -                   150.00
             Prescriptions-. ... , - -                         10.00                        To secured creditor. - ...                          0.00
             Dental, . . . . .......... , . , . - ,            20.00                        (Other than mortgage and vehicle).                  0.00
             Other_ _ ,.. ... ...... ..... - .. ..              0.00                        Other                                               0.00

TOTAL MONTHLY DISCRETIONARY EXPENSES (FAMILY UNIT) .                                                                                        1,802.00 (10)
MONTHLY SURPLUS OR (DEFICIT) FAMILY UNIT ((8)- (10))                                                                                          -13.00 (11)


Note:
        Le montant attribue au layer represents uniquement la portion payee par le ditbiteur.

        Le conjoint+) du debiteur ne veut pas divulguer ses ravens.

        Le vehicule du debiteur, Mini Copper 2007, requiert des reparations. Cad a ete provisions dans les depenses de transport et
        co afin de couvrir la carte de transport en common, les foals des plaques, le coat de ('essence et rentrelien.
Dated at the City of Laval in the Province of Quebec, this 29th day of May 2019.

MNP LTEE - Licensed Insolvency Trustee


1155, bout. Rene-Levesque West, 19e Maga
Montreal OC H39 4V2                                                                                                      Charles 101AROUF
Phone: (514) 9324115 Fax: (514) 932-9195




                                                                         Page 2 of 2
 District of               Quebec
 Division No.              01 - Laval
 Court No.
 Estate No.                XX-XXXXXXX
                                                                 - FORM 37.1 -
                                                                  Voting Letter
                                                        (Paragraph 66.15(3)(c) of the Act)
                                                    In the matter of the consumer proposal of
                                                                 Charles KHAROUF
                                                  of the city of Laval, in the Province of Quebec

 1.        I,                                       , creditor        (or      I,                                     representative of
                                            creditor), of                             , a creditor in the above matter for the sum of
 S                       hereby understand that
      (a) as a creditor who has proven claim, I may indicate assent to or dissent from the consumer proposal at or prior to
      a meeting of creditors, or prior to the expiration of the 45-day period following the filing of the consumer proposal;
      (b) a vote AGAINST the consumer proposal Is not a deemed request fora meeting of creditors for the purpose of
      paragraph 66.15(2)(b) of the Act, and will not be counted in a vote on the consumer proposal unless a meeting of
      creditors is called;
      (c) the administrator of the consumer proposal will be required to call a meeting of creditors only if, pursuant to
      section 66.15 of the Act
      -     heishe is directed to do so by the official receiver within the 45-day period after the filing of the consumer
      proposal; or
      -     at the expiration of the 45-day period after the filing of the consumer proposal, creditors having in the aggregate
      at least 25 percent of the value of proven claims have so requested.
      (d) if no meeting of creditors is called, the consumer proposal shall, by virtue of subsection 66.18(1) of the Act, be
      deemed to have been accepted by the creditors, regardless of any dissent(s) the administrator of the consumer
      proposal may have received.
2.1hereby request (Check and complete the appropriate section)
      n   the administrator acting with respect to the consumer proposal to record my vote FOR the acceptance of the
      " 1 consumer proposal as made on the 30th day of May 2019.

      ri        the administrator acting with respect to the consumer proposal to record my vote AGAINST the acceptance of
      "         the consumer proposal as made on the 30th day of May 2019;


      0 the administrator acting with respect to the consumer proposal to record my vote AGAINST the acceptance of
        the consumer proposal as made on the 30th day of May 2019 and REQUEST THAT A MEETING OF
                CREDITORS HE CONVENED.

Dated at                                         this        day of



Witness                                                                     Name of Creditor or Representative of Creditor
Return To:                    MNP LTEE - licensed Insolvency Trustee
                              1155, bout. Rene-Levesque Ouest, 198 stage
                              Montreal QC H38 4V2
                              Phone: (514) 932-4115 Fax: (514) 932-9195




                                                                  Pagel of 1
 District of:        Quebec
 Division No.        01 - Laval
 Court No.
 Estate No.          XX-XXXXXXX

                                                      - FORM 36 -
                                                         Proxy
                           (Subsection 102(2) and paragraphs 51(1)(e) and 66.15(3)(b) of the Act)


                                          In the matter of the consumer proposal of
                                                       Charles KHAROUF
                                        of the city of Laval, in the Province of Quebec

                                        of                           a creditor in the above matter, hereby
appoint                                            , of                                                  to be
my proxyholder in the above matter, except as to the receipt of dividends,                 (with or without)
power to appoint another proxyholder in his or her place.



Dated at                                             , this            day of



Witness                                                               Individual Creditor


Witness                                                               Name of Corporate Creditor


                                                                Per
                                                                      Name and Title of Signing Officer

Return To:

MNP LTEE - Licensed Insolvency Trustee
1155, bowl. Rene-Levesque Quest, 19e &age
Montreal QC H3B 4V2
Phone: (614) 932-4115 Fax: (514) 932-9195




                                                        Page 1 of 1
                                                                                                                                                       MNP LTEE
                                                                                                                        1155, bout. Rene-Levesque Quest, 19e !stage
                                                                                                                                             Montreal OC H3B 4V2
                                                                                                                       Phone: (514) 932-4115 Fax: (514) 932-9195




  District of:              Quebec
  Division No.              01- Laval
  Court No.
  Estate No.                41.2517037
                                                                           - FORM 31 -
                                                                          Proof of Claim
                                  (Sections 50.1, 81.5,81.6, Subsections 65.2(4), 81.2(1), 81.3(8), 81.4(8), 102(2), 124(2), 128(1),
                                                         and Paragraphs 51(1)(e) and 86.14(b) of the Act)

                                                              In the matter of the consumer proposal of
                                                                           Charles KHAROUF
                                                            of the city of Laval, In the Province of Quebec


All notices or correspondence regarding this claim must be forwarded to the following address:




      In the matter of the proposal of Charles KHAROUF of the city of Laval in the Province of Quebec and the claim of
                                        creditor.
                                                        (name of creditor or representative of the creditor), of the city of                                In the
province of                    do hereby certify:

      1. That I am a creditor of the above named debtor (or I am                                                   (positionAitle) of
creditor).

      2. That I have knowledge of all the circumstances connected with the claim referred to below.

     3. That the debtor was, at the date of proposal, namely the 30th day of May 2019, and still is, Indebted to the creditor in the sum of
                           , as specified in the statement of account (or affidavit) attached and marked Schedule *A*, after deducting any
counterclaims to which the debtor is entitled, (The attached statement oi account or affidavit must specify the vouchers or other evidence In
support of the claim.)

     4. (Check and complete appropriate category.)
        ❑        A. UNSECURED CLAIM OF
                 (other than as a customer contemplated by Section 262 of the Act)
         That in respect of this debt, I do not hold any assets of the debtor as security and
                                                                        (Check appropriate description.)

        ❑        Regarding the amount of                                   I claim a right to a priority under section 136 of the Act.
        ❑        Regarding the amount of S                                I do not claim a sight to a priority.
                                                          (Set out on an attached sheet details to support priority claim.)
        ❑        B. CLAIM OF LESSOR FOR DISCLAIMER OF A LEASE $
        That !hereby make a claim under subsection 85.2(4) of the Act, particulars of which are as follows:
                                     (Give fullparticulars ofMe claim, kiciuding the calculations upon which the claim is based)
        ❑        C. SECURED CLAIM OF $
        That in respect efts debt, I hold assets of the debtor valued at $                as security, particulars of which are as follows:
        (Give full particulars of the security, including the date on which doe security was given and the value at which you assess the security,
        and attach a copy of the security documents.)
        ❑        D. CLAIM BY FARMER, FISHERMAN OR AQUAGULTURIST OF $

        That I hereby make a claim under subsection 81.2(1) of the Act for the unpaid amount of $
                                                      (Attach a copy of sales agreement and delivery receipts.)




                                                                           Page 1 of 2
                                                                                 FORM 31— Concluded

             ❑       E. CLAIM BY WAGE EARNER OF $
             ❑       That I hereby make a claim under subsection 81.3(8) of the Act in the amount of $
             ❑       That I hereby make a claim under subsection 81.4(8)01111e Act in the amount of $

            ❑        F. CLAIM BY EMPLOYEE FOR UNPAID AMOUNT REGARDING PENSION PLAN OF $
            ❑        That I hereby make a claim under subsection 81.5 of the Act in the amount of $
            ❑        That I hereby make a deim under subsection 81.6 of the Act in the amount of $

            0        G. CLAIM AGAINST DIRECTOR S
             (To be completed when a proposal provides hying compromise of claims against dhectors.)
             That I hereby make a claim under subsection 50(13) of the Act. particulars of which are as follows:
             (Give halparticulars of the dabs, including the calculations upon which the dab is based.)

            ❑       H. CLAIM OF A CUSTOMER OF A BANKRUPT SECURITIES FIRM $

             That I hereby make a claim as a customer for net equity as contemplated by section 262 of the Act, particulars of which are as follows:
             (Give futtparticulars of the dahn, kmluding the calculations upon which the claim is based.)

        S. That, to the best of my knowledge, t                                 _(amtath not) (or the above•named creditor                        (islis not)) related to the
  debtor within the meaning of section 4 of the Act, and                    (have/has/have not/ as not) dealt with the debtor In a non•arm's4ength manner.

         6. That the following are the payments that I have received from, and the credits that I have allowed to, and the transfers at undervalue
  within the meaning of subsection 2(1) of the Act that I have been privy to or a party to with the debtor within the three months (or, if the creditor
  and the debtor are related within the meaning of section 4 of the Act or were not dealing with each other at arm's length, within the 12 months)
  immediately before the date of the initial bankruptcy event within the meaning of Section 2 of the Act (Provide details of payments, credits and
  transfers al undervalue.)

        T. (Applicable only in the case of the bankruptcy of an individual.)

           ❑ Whenever the trustee reviews the financial situation of a bankrupt to redetermine whether or not the bankrupt Is required to make
             payments under section 68 of the Act, I request to be informed, pursuant to paragraph 68(4) of the Act, of the new fixed amount or
             of the fact that there is no longer surplus income,

           ❑ I request that a copy of the report filed by the trustee regarding the bankrupt's application for discharge pursuant to subsection
             170(1) of the Act be sent to the above address.



Dated at                                                             this                            day of




                        Witness
                                                                                                                                             Creditor
                                                                                                              Phone Number.
                                                                                                              Fax Number
                                                                                                              E-mail Address


NOTE.           VMilrj1 ididtid. 1 iris/ H,suwEpit biome paw ;Wand Wale 'Oasts

WARINGS.      A ham trey, purestm sUbinfoi 12101a to Ad Mesa,manly ol permed Ea to rend Mitre to dale. the 901clIto suety seisiscet at mad
              mit?, by to nand ander.

              Sheen 20111)0, MI Ad pmidis swora Pr.tlM ti =LI cry hist din;mot Ilidaraion sr stemma Oxcart




                                                                                     Page 2 of 2
District of:            Quebec
Division No.            01 - Laval
Court No.
Estate No.              XX-XXXXXXX



                                                          FORM 01.1
                                General Sender Identification for: Copies of all Prescribed Forms
                                              Sent to Creditor(s) Electronically


                                            In the matter of the consumer proposal of
                                                         Charts KHAROUF
                                          of the city of Laval, in the Province of Quebec



Dated al the City of Laval in the Province of Quebec, this 27th day of August 2019.


                                Responsible Individual (Sender): Olivier Boyd
                                                                 (Administrator of Consumer Proposal)

                                              Corporate Name : MNP LTEE

                                                       Address: 1155, boul. Rene-Levesque Quest, 19e dtage
                                                                Montreal QC H3B 4V2



                                                     Telephone: (514) 932-4115
                                                            Fax: (514) 932-9195
                                                         E-mail:



                                                            NOTICE

                   Please be advised that the above-noted individual is required to retain the signed original
                              of the document as part of the official records of this proceeding.
CANADA
Province de       Quebec
District de:      Quebec
No division:      01- Laval
No cour:
No dossier:       XX-XXXXXXX

                                                  Affidavit d'envoi

                                Dans l'affaire de la proposition de consommateur de
                                                 Charles KHAROUF
                                 de la Ville de Laval, dans la province de Quebec

     Je, Suellen De Sousa, de MNP LTEE, declare (ou declare solennellement) sous serment et dis:

   Que le 30 mai 2019, j'ai transmis a BankEx par l'intermediaire du Bouton Express aux destinataires, dont les
noms et les adresses apparaissent sur rannexe "A" cl-attachee, copie des documents suivants:

Formulaire 01.1                Identification generale de l'expediteur pour copies de tous formulaires prescrits
Formulaire 31                  Preuve de reclamation
Formulaire 36                  Formulaire de procuration
Formulaire 37.1 -              Formulaire de votation - Bilingue
Bilingue
Formulaire 47                  Proposition de consommateur
Formulaire 48 (Projet de       Rapport de l'administrateur concemant la proposition de consommateur
loi C-12)
Formulaire 49 - Bilingue       Avis aux creanciers de la proposition de consommateur - Bilingue
(Projet de loi C-12)
Formulaire 65                 Etat mensuel des revenus et depenses de l'unite familiale et Information (ou
                              information modifiae) concemant la situation finan
Formulaire 79 (Projet de      Bilan - non-commergant
loi C-12)




Suellen De Sousa
Telephone: (514) 932-4115
Telecopieur: (514) 932-9195

ASSERMENTE (ou DECLARE SOLENNELLEMENT) devalmii
Montreal en la province de Quebec ce 30 mai 2019.
                                                   6?
                                                  r-
                                                  g

                              4 /--\
Nathan Uong, CommissaiLb/ a ei(ssermentation
Pour Ia province de Quebec
Expire le 1 novembre 2020
District de:       Quebec
No division:       01- Laval
No cour:
No dossier         XX-XXXXXXX


                                      Rapport de Statut du Paquet Express
                                                  (Annexe A)

                                     Dans l'affaire de la proposition de consommateur de
                                                      Charles KHAROUF
                                      de la Ville de Laval, dans la province de Quebec
Nom du Debiteur:     KHAROUF, Charles      # de Paquet:         I                    Crea par.     De Sousa, Suellen
Nom du Fichier       30450                 Nom de Paquet:      Avis aux creanciers - Envoye par:   De Sousa, Suellen
                                                               Bilingue - Div II
# BSF:               XX-XXXXXXX            # de Confirmation: 802118                 Date envoyea: 30-mai-2019 14:51
Destinataire                        Plume.° de Compte                         Adresse
Agence du revenu du Quebec          Comptes Multiples                         Service des dossiers de faillites
                                                                              1265 boulevard Charest 0 6e etage secteur
                                                                              C65-6I
                                                                              Quebec QC GIN 4V5

ARC - Taxe - Quebec                 Comptes Multiples                         Shawinigan-Sud National Verification and
                                                                              Collection Centre
                                                                              4695 Shawinigan-Sud Blvd
                                                                              Shawinigan-Sud QC G9P 5H9

Banque Laurentienne du Canada       Comptes Multiples                         100 - 955 Boul de Maisonneuve E
                                                                              Montreal QC H2L 1Z3

Centre de perception Desjardins                                               2489, rue Saint-Dominique
                                                                              Jonquiere QC G7X 6K4

Charles KHAROUF

CIBC c/o TECHCOM Managed            Comptes Multiples                         6-6150 Hwy 7, PO Box 486
Services                                                                      Woodbridge ON L4H OR6

MBNA / Insolve Global Credit Fund                                             do TECHCOM Managed Services Inc.
III, L.P.                                                                     6-6150 Hwy 7, PO Box 487
                                                                              Woodbridge ON L4H OR6

RBC Royal Bank / Banque Royale                                                PO Box 57 [ 00
                                                                              Etobicoke ON M8Y 3Y2

Rogers Communications / CBV         6-0079-4317                              do FCT Default Solutions
Collection                                                                   PO Box 2514 Station B
                                                                             London ON N6A 4G9

TD Canada Trust                     Comptes Multiples                        4880 Tahoe Blvd
                                                                             Mississauga ON L4W 5P3




 30 mai 2019                                                                                                     Page 1 / 1
 District de:      Quebec
 No division:      01- Laval
 No cour.
 No dossier        XX-XXXXXXX


                                    Rapport de livraison du paquet express

                                     Dans l'affaire de la proposition de consommateur de
                                                      Charles KHAROUF
                                      de la Ville de Laval, dans la province de Quebec
Nom du Debiteur:     KI-IAROUF, Charles    # de Paquet:          1                       Crea par:     De Sousa, Suellen
Nom du Fichier       30450                 Nom de Paquet:        Avis aux creanciers - Envoye par:     De Sousa, Suellen
                                                                 Bilingue - Div II
# BSF:               XX-XXXXXXX            # de Confirmation: 802118                     Date envoyea: 30-mai-2019 14:51
Destinataire    Numero de Compte Adresse          Mithode prevue Adresse destirie       Mithode de livraison   Adresse de livraison
Agence du        Comptes Multiples Service des    Telecopieur        4185775017
revenu du                          dossiers de
Quebec                             faillites
                                   1265
                                   boulevard
                                   Charest 0 6e
                                   &age secteur
                                   C65-61
                                   Quebec QC
                                   GIN 4V5

ARC - Taxe -    Comptes Multiples Shawinigan-S Adresse               cra-arc_tax-fisc
Quebec                            ud National    electronique        _ins_t-f_g@cra-
                                  Verification                       arc.gc.ca
                                  and Collection
                                  Centre
                                  4695
                                  Shawinigan-S
                                  ud Blvd
                                  Shawinigan-S
                                  ud QC G9P
                                  5H9

Banque          Comptes Multiples 100 - 955       Adresse            977faillites@ba
Laurentienne du                   Boul de         electronique       nquelaurentienn
Canada                            Maisonneuve                        e.ca
                                  E
                                  Montreal QC
                                  H2L 1Z3

Centre de                          2489, rue     Adresse             CSP.Recouvrem
perception                         Saint-Dominiq electronique        ent@desjardins.
Desjardins                         ue                                com
                                   Jonquiere QC
                                   G7X 6K4

Charles                                           Adresse            ckharouf@gmai
KHAROUF                                           electronique       I.com



 30 mai 2019                                                                                                          Page 1/ 2
                                      Rapport de livraison du paquet express

                                       Dans l'affaire de la proposition de consommateur de
                                                        Charles KHAROUF
                                        de la Ville de Laval, dans la province de Quebec
Nom du Debiteur:       KHAROUF, Charles      # de Paquet:          1                    Cita par:      De Sousa, Suellen
Nom du Fichier:        30450                 Nom de Paquet:        Avis aux crdanciers - Envoyd par:   De Sousa, Suellen
                                                                   Bilingue - Div H
# BSF:                 XX-XXXXXXX            # de Confirmation: 802118                  Date envoyda: 30-mai-2019 14:51
Destinataire       Numero de Compte Adresse        Methode prevue Adresse desinie Methode de livraison       Adresse de livraison
CIBC do            Comptes Multiples 6-6150 Hwy 7, Adresse        trns.c ibc@techc
TECHCOM                              PO Box 486    dlectronique   omnet.com
Managed                              Woodbridge
Services                             ON L4H OR6

MBNA /                               do            Adresse             tms.insolve@te
Insolve Global                       TECHCOM       dlectronique        chcomnet.com
Credit Fund III,                     Managed
L.P.                                 Services Inc.
                                     6-6150 Hwy 7,
                                     PO Box 487
                                     Woodbridge
                                     ON L4H OR6

RBC Royal                            PO Box 57100 Adresse              bankruptcydocu
Bank / Banque                        Etobicoke ON dlectronique         ments@asset.ne
Royale                               M8Y 3Y2                           t

Rogers        6-0079-4317            c/o FCT        Adresse            dsinsolvency@c
Communication                        Default        dlectronique       ollectlink.com
s/CBV                                Solutions
Collection                           PO Box 2514
                                     Station B
                                     London ON
                                     N6A 4G9

TD Canada          Comptes Multiples 4880 Tahoe     Adresse            TD.Bankrupt®t
Trust                                Blvd           dlectronique       d.com
                                     Mississauga
                                     ON L4W 5P3




30 mai 2019                                                                                                         Page 2 / 2
 District de:              Quebec
 No divisfon:              01 - Laval
 No tour:
 No dossier:               XX-XXXXXXX

                                                                 _FORMULAIRE 49_
                                                              Avis aux creanciers de la
                                                            proposition de consommateur
                                                              (alinea 66.14b) de la Loi)
                                              Dans l'affaire de la proposition de consommateur de
                                                               Charles KHAROUF
                                               de la Ville de Laval, dans la province de Quebec
      Avis est donne que

      1 Charles KHAROUF, debileur consommateur, a fait une proposition de consommateur en vertu de radicle 66.13 de la Loi le 29 mai 2019
 et une copie de la proposition et du bilan prescrit de ce demier a ele apostle aupres du sequestre officiel par MNP LTEE, administrateur de la
 proposition de consommateur, le 30 mai 2019.

      2. Sont annexes au present avis les documents suivants

           a) une copie de la proposition de consommateur;
           b) une copie du rapport de l'administrateur concemant la proposition de consommateur qui a ete deposee aupres du sequestre officiel
           le 30 mai 2019; et
              une copie du bilan vise a ralinea 66.13(2)d); et
           d) un formulaire de preuve de reclamation.

      3. Tout creancier qui a prouve une reclamation peut, lors de rassemblee des creanciers ou avant la tenue de celle-ci, ou encore avant
('expiration des 45 jours suivant le depot de la proposition, indiquer s'il approuve ou desapprouve la proposition (Veuillez noter que le formulaire
37.1, fonnulaire de votation, peut etre utilise par le creancier aim d'indiquer s'il approuve ou desapprouve la proposition ainsi que pour
demander qu'une assemblee des creanciers soit convoquee).

      4. Cependant, toute desapprobation que je regois n'est pas une demande en vue de la convocation dune assemblee des creanciers pour
('application de ralinea 66.15(2)b) et ne sera pas calculee dans le cadre dun vote portant sur la proposition de consommateur, a mains que je
ne sois lenu de convoquer une assemblee des creanciers en vertu de radicle 66.15 de la Loi.

      5. Je suis tenu de convoquer une assemblee des creanciers dans la mesure ou, selon le cas, en vertu de ('article 66.15 de la Loi
          a) dans les 45 lours suivant le depbt de la proposition de consommateur, le sequestre °Fidel m'enjoint de convoquer une telle
          assemblee; ou
          b) des creanciers representant en valeur au mains 25 p. 100 des reclamations prouvees en font la demande avant ('expiration des 45
          jours suivant le *at de la proposition de consommateur.

     6. Si, au cours de la periode de 45 jours mentionnee au paragraphe 5, je ne suis pas tenu de convoquer une assemblee des creanciers, la
proposition de consommateur est reputee, en vertu du paragraphe 66.18(1) de la Loi, avoir ete acceptee par les creanciers, sans egard i1 toute
desapprobation que j'aurai revue.

      7. En cas d'acceptation effective ou presumee de la proposition de consommateur par les creanciers, je presenterai une demande de
revision judiciaire de la proposition par le tribunal seulement si, en vertu de ('article 66.22 de Ia Loi, le sequestre officiel ou (cute autre padie
interessee m'en fait la demande dans les 15 jours suivant ('acceptation - effective ou presumee - de la proposition de consommateur.

     8. Si, au cours du alai de 15 jours mentionne au paragraphe 7, je ne regois aucune demande de revision de la proposition de
consommateur par le tribunal, la proposition de consommateur sera reputee avoir ete approuvee par le tribunal.

Date le 29 mai 2019, a Laval en la province de Quebec.

MNP LTEE - Syndic autorise en insolvabilite
Par.


Olivier Boyd - SAI, Administrateur de la Proposition de Consommateur
1155, boul. Rene-Levesque Ouest, 19e stage
Montreal QC H3B 4V2
Telephone: (514) 932-4115 Telecopieur: (514) 932-9195




                                                                   Page 1 de 1
  District of:            Quebec
  Division No.            01 - Laval
  Court No.
  Estate No.              XX-XXXXXXX


                                                                      _FORM 49_
                                                      Notice to Creditors of Consumer Proposal
                                                            (Paragraph 66.14(b) of the Act)
                                                      In the matter of the consumer proposal of
                                                                   Charles KHAROUF
                                                    of the city of Laval, in the Province of Quebec
      Take notice that:

     1. Charles KHAROUF, a consumer debtor, made a consumer proposal under section 66.13 of the Act on the 29th day of May 2019 and a
copy of it and the prescribed statement of affairs was filed with the official receiver by us, MNP LTEE, the administrator of the consumer
proposal, on the 30th day of May 2019.

      2. Attached to this notice are the following documents:

      (a) a copy of the consumer proposal;
      (b) a copy of our report on the consumer proposal, which was filed with the official receiver on the 30th day of May 2019; and
      (c) a copy of the statement of affairs referred to in paragraph 66.13(2)(d) of the Act; and
      (d) a proof of claim.

      3. Any creditor who has proved a claim may indicate assent to or dissent from the consumer proposal at or prior to a meeting of creditors,
or prior to the expiration of the 45-day period following the filing of the consumer proposal (Note: Form 37.1, Voting Letter, may be used by the
creditor to indicate assent to or dissent from the consumer proposal and to request that a meeting of creditors be held).

     4. Any dissent I receive, however, is not a request for a meeting of creditors for the purpose of paragraph 66.15(2)(b) of the Act, and will
not be counted in a vote on the consumer proposal unless I am required to call a meeting of creditors pursuant to section 66.15 of the Act.

     5. 1 will be required to call a meeting of creditors only if, pursuant to section 66.15 of the Act:
         (a) I am directed to do so by the official receiver within the 45-day period after the filing of the consumer proposal; or
         (b) at the expiration of the 45-day period after the filing of the consumer proposal, creditors having in the aggregate at least 25 percent
         of the value of proven claims have so requested.

      6. If, within the 45-day period mentioned at paragraph 5, I am not required to call a meeting of creditors, the consumer proposal shall, by
virtue of subsection 66.18(1) of the Act, be deemed to have been accepted by the creditors, regardless of any dissent(s) I may have received.

      7. In the event that the consumer proposal has been accepted or is deemed to have been accepted by the creditors, I will apply to the
court to review the consumer proposal only if, pursuant to section 66.22 of the Act, I am requested to do so by the official receiver or any other
interested party within 15 days after the day of acceptance or deemed acceptance of the consumer proposal.

    8. If, within that 15-day period mentioned at paragraph 7, I am not requested to apply to the court to review the consumer proposal, the
consumer proposal is deemed to be approved by the court.

   Dated at the City of Laval in the Province of Quebec, this 29th day of May 2019.


   MNP LTEE - Licensed Insolvency Trustee
   Per:


   Olivier Boyd - LIT, Administrator of Consumer Proposal
   1155, boul. Rene-Levesque Quest, 19e etage
   Montreal QC H3B 4V2
   Phone: (514) 932-4115 Fax: (514) 932-9195




                                                                     Page 1 of 1
  District de:         Quebec
  No division:         01- Laval
  No cour:
  No dossier:

                                                             — FORMULAIRE 48 —
                                                   Rapport de I'administrateur concemant
                                                       la proposition de consommateur
                                                            (article 66.14 de Ia Loi)
                                            Dans I'affaire de la proposition de consommateur de
                                                              Charles KHAROUF
                                             de la Ville de Laval, dans la province de Quebec

  Nous, MNP LTEE, de 1155, bout Rene-Levesque Quest, 19e stage, Montreal, QC, H3B 4V2, administrateur de la proposition de
  consommateur de Charles KHAROUF, debiteur consommateur, faisons rapport au sequestre officiel de ce qui suit:
  1. Le debiteur consommateur susnomme a fait une proposition de consommateur le 29 mai 2019 et nous avons depose une copie de
  la proposition aupres du sequestre officiel le 29 mai 2019.
  2. Nous avons enquete, ou fait enquete, sur les biens et les affaires du debiteur consommateur de maniere a etre en mesure
  d'estimer, avec un degre suffisant d'exactitude, sa situation financke et la cause de son insolvabilite.
  3. Sont annexes au present rapport le bilan du debiteur consommateur et une liste des creanciers dont la valeur des reclamations
  excede 250 $.
  4. Nous sommes d'avis que les causes de l'insolvabilite du debiteur consommateur sont les suivantes:
           Les difficultes financieres des societes ont ete supportees par l'administrateura l'aide de ses diverses cartes et marges de
           credits personnelles.
           Les societes ne sont pas en operations.
  5. Nous sommes d'avis, pour les raisons suivantes, que la proposition de consommateur est juste et raisonnable tant pour le debiteur
  consommateur que pour les creanciers, et que le debiteur consommateur pourra la mettre en oeuvre :
           - Les dettes n'ont pu etre consolidees:

          - Le debiteur ne souhaite pas faire cession;

          - Les creanciers recevront un dividende net approximatif de 6% dans la proposition comparativementa aucun dividende
          dans un contexte de faillite.

  Date le 29 mai 2019, a Laval en la province de Quebec.

  MNP LTEE - Syndic autorise en insolvabilite
  Par.


- -Olivier Boyd - SAI, Administrateur de la Proposition de Consommateur
  1155, boul. Rene-Levesque Ouest, 19e stage
  Montreal QC H3B 4V2
  Telephone: (514) 932-4115 Telecopieur: (514) 932-9195




                                                               Page 1 de 2
                                                           FORMULAIRE 48 — Fin


                                    Liste de creanciers avec des reclamations de $250.00 ou plus

          Creancier                                       Adresse                                  # Compte   Reclamation $

Agence du revenu du Quebec     Service des dossiers de faillites                           Ref: 16844349           35,697.00
Direction regionale du         1265 boulevard Charest 0 6e etage secteur C65-61
recouvrement                   Quebec QC GIN 4V5
Banque Laurentienne du         100 - 955 Bout de Maisonneuve E                                                      3,000.00
Canada                         Montreal QC H2L 1Z3
Centre de recouvrement
Banque Laurentienne du         100 - 955 Boul de Maisonneuve E                             Marge                    3,000.00
Canada                         Montreal QC H2L 1Z3
Centre de recouvrement
Centre de perception           2489, rue Saint-Dominique                                                            1,100.00
Desiardins                     Jonquiere QC G7X 6K4
CIBC do TECHCOM                6-6150 Hwy 7, PO Box 486                                                             9,000.00
Managed Services               Woodbridge ON L4H OR6
MBNA / Insolve Global Credit   do TECHCOM Managed Services Inc.                                                     5,000.00
Fund III, L.P.                 6-6150 Hwy 7, PO Box 487
                               Woodbridge ON L4H OR6
RBC Royal Bank I Banque        PO Box 57100                                                                        25,000.00
Royale                         Etobicoke ON M8Y 3Y2
do BankruptcyHighway.com
Rogers Communications I        do FCT Default Solutions                                    6-0079-4317              1,216.00
CBV Collection                 PO Box 2514 Station B
                               London ON NBA 4G9
TD Canada Trust                4880 Tahoe Blvd                                            Marge                     3,000.00
CC&R Insolvency and Credit     Mississauga ON L4W 5P3
Counselling
TD Canada Trust                4880 Tahoe Blvd                                                                      5,000.00
CC&R Insolvency and Credit     Mississauga ON L4W 5P3
Counselling
                               iim aill.11111111111111Mig
           Total                                                                                                  91,013.00




                                                              Page 2 de 2
District de:            Quebec
No division:            01 - Laval
No cour:
No dossier
                                                                - FORMULAIRE 47 -
                                                           Proposition de consommateur
                                                            (alinea 66.13(2)c) de la Loi)
                                               Dans l'affaire de la proposition de consommateur de
                                                                 Charles KHAROUF
                                                de la Ville de Laval, dans la province de Quebec


Je, Charles KHAROUF, debiteur consommateur, fais la proposition de consommateur suivante en vertu de Ia Loi :

1. Que le paiement des reclamations des creanciers garantis soit fait de la facon suivante
   SANS OBJET

2. Que le paiement de toutes les reclamations qui, aux termes de la Loi, doivent Otre payees en priorite sur les autres reclamations dans la
distribution de mes biens soit fait de la facon suivante :
    Elles seront payees conformement au paragraphe 136(1) en priorite des autres creanciers non garantis, le cas echeant.

3. Que le paiement des honoraires et depenses de MNP LTEE, administrateur de la proposition de consommateur, et de ceux de toute personne
se rapportant aux consultations donnees par c,elle-ci en vertu de la Loi soft fait de la maniere suivante :
   Les honoraires et depenses de l'administrateur seront payes conformement aux dispositions des paragraphes 129 et 131 des Regles
   regissant la Loi sur la faillite et finsolvabilite.

4. Que les paiements suivants soient faits a MNP LTEE, administrateur de la proposition de consommateur, au profit des creanciers non garantis

   Le debiteur s'engage a remettre la somme de 9 000$ a raison de 60 versements mensuels consecutifs de 150$. Le premier versement
   devra etre effectue 30 jours suivants le itpOt de la proposition de consommateur. Dans le contexte ou sa situation financiere le lui permettra,
   le debiteur paiera plus rapidement sa proposition.

5. Que ('administrateur de la proposition de consommateur distribue aux creanciers non garantis les sommes regues, conformement aux
modalites suivantes :
   La distribution aux creanciers non garantis sera effectuee tous les douze (12) mois a compter de la date d'acceptation ou d'approbation par la
   Cour de la proposition de consommateur, a condition qu'un montant minimum de 5 000$ soit disponible pour distribution dans le compte
   bancaire.

6. Que Ies dispositions supplementaires suivantes soient incluses dans la presente proposition :
   a) Les creanciers peuvent nommer un nombre maximal de trois inspecteurs charges de la proposition de consommateur du debiteur
   consommateur et en plus des pouvoirs que leur confare la Loi, ces inspecteurs peuvent etre autorises a approuver toute modification de la
   proposition de consommateur sans convoquer d'assembl6e de creanciers, lorsqu'une telle modification vise l'echeancier et le montant des
   paiements que doivent faire le d6biteur consommateur et n'entraine pas de changement dans le montant a payer ; et

   b) en ('absence d'inspecteurs nommes, l'administrateur de cette proposition de consommateur, doit avoir le pouvoir de proroger le Mai pour
   la realisation d'un paiement qui devait etre fait conforntment a cette proposition, aucune prorogation ne devant depasser les cinq ans suivant
   ('approbation de cette proposition par le Tribunal ; et

   c) que toute demande prouvable en vertu de cette proposition de consommateur, par sa Majeste la Reine du chef du Canada (ARC) el du
   chef de toute la province (MRQ) doit inclure tous les impots, les interets et les *daft qui sont payables a regard du revenu gagne par le
   debiteur consommateur jusqu'a la date de la proposition soumise aux droits de I'ARC et jusqu'a liana* precedente de la proposition soumise
   aux droits du MRQ, independamment de la date devaluation reelle ou d'imposition de ces impOts, des interets et des penalites. Si le debiteur
   consommateur devrait avoir droit au remboursement de l'impfit sur le revenu a regard de toute 'triode de temps anterieure a la date du depot
   de cette proposition de consommateur, ce remboursement viendrait en diminution des reclamations prouvables de ('ARC et du MRQ en vertu
   de cette proposition de consommateur ; et

   d) sur reception de la proposition, toute somme d'argent detenue par le centre de perception du palais de justice suite a une saisie devra etre
   remise a sans Mai a l'administrateur de la proposition de consommateur et appliquee contre les termes de la proposition de consommateur.




                                                                   Page 1 de 2
District de:           Quebec
No division:           01 - Laval
No cour:
No dossier:
                                                               - FORMULAIRE 47 -
                                                          Proposition de consommateur
                                                           (alinea 66.13(2)c) de la Loi)
                                              Dans l'affaire de la proposition de consommateur de
                                                                Charles KHAROUF
                                               de la Ville de Laval, dans la province de Quebec

Date le 29 mai 2019, a La           province de Quebec.

                                    Z                                                               (-___---- ------------
                 OLIVIER                                                                                Charles KHAROUF
                    Temoin                                                                            Debiteur Consommateur




                                                                 Page 2 de 2
District de:           Quebec
No division:           01 - Laval
No cour:
No dossier:
                                                                            — FORMULAIRE 79 —

                                                                Bilan - Proposition (Moos& par un particulier
                                          (paragraphe 49(2), arida 158d), paragraphes 50(2) et 62(1) et alinea 66.13(2)d) de la Loi)

                                                                                                                       Bilan:       El original            modifie
                                                             Dans l'affaire de la proposition de consommateur de
                                                                              Charles KHAROUF
                                                              de la Ville de Laval, dans la province de Quebec


                                                                                 ACTIFS
                                                                                                        Valeur         Biens            Montant       Valeur estimee
                                                                         Description
                         Genre d'actif                                                                estimee en      exemytes          garanti /        nette en
                                                                (Veuillez Bonner des details)
                                                                                                        dollars       Oui Non           Privilege        dollars*

           1. Especes en main
           2. Ameublement                                Ameubleument                                     1000.00 x                            0.00            0.00
           3. Effets personnels

           4. Valeur de rachat
           assurance-vie, REER
           5. Valeurs des                                50% actionnaire - 9384-1898 Quebec                    1.00             x              0.00            1.00
           garanties                                     Inc. - EN DEMARRAGE ET SANS ACTIF
                                                         100% actionnaire - 9322-4756 Quebec                   1.00             x             0.00             1.00
                                                         Inc. - INOPERANTE ET SANS ACTIF
                                                         100% actionnaire - Simple Seo -                       1.00             x             0.00             1.00
                                                         INOPERANTE ET SANS ACTIF
                                                         100% actionnaire - Evolio Call -                      1.00             x             0.00             1.00
                                                         INOPERANTE ET SANS ACTIF
           6. Immeubles et biens      Maison
           reels
                                      Chalet
                                      Terrain
           7. Vehicules motorises Voiture                Mini Cooper 2007 - BLACKBOOK                     1,418.00     x                      0.00             0.00
                                                         VALUE
                                      Motocyclette
                                      Motoneige
                                      Autre
           8. Equipement de
           loisirs
           9. !mitts
                                                                                                                       —.
                                                                                            TOTAL         4,42/00 ,;                          0.00             4.00
         Pour une administration sommaire, indiquer la valeur nette apres deduction des co& directement relies a la realisation prevus a la Regle 128(1) de
        la L.F.I.

                            29-mai-2019
                               Date                                                                                    Charles KHAROUF
                                                                                                                            Debiteur

                                                                               Page 1 de 5
District de:             Quebec
No division:             01 - Laval
No tour.
No dossier.


                                                                                FORMULAIRE 79 — Suite


                                                                                        PASSIF
               Code du genre de passif (CGP): 1 Hypotheques sur les biens immeubies                                   5 Autres emetteurs de cartes de credit
                                              2 Prets bancaires (excepte hypotheques sur les biens irnmeubles)        6 !moats federaYprovincial/municipal
                                              3 Preis des sodetes de credit                                           7 Frets etudiants
                                              4 Cartes de credit emises par les banques et les societes de fiducie    8 Preis d'individus
                                                                                                                      9 Autre

                                                                                                                                 Montant de la dette                   Entrer
                         Creander                Adresse incluant le code postal         No de compte                                                                   le
                                                                                                               Non-garantie I        Garanlie          Privileglee     CGP
           Agence du revenu du Quebec Service des dossiers de                          (NEQ:1170951546)                   0.00               0.00               0.00     6
           Attn: Direction regionale du faillites                                      -Responsabilite
           recouvrement                 1265 boulevard Charest 0 6e
                                        etage secteur C65-61
                                        Quebec QC G1N 4V5
           Agence du revenu du Quebec Service des dossiers de                         (NEQ: 2270489307;                   0.00               0.00               0.00     6
           Attn: Direction regionale du faillites                                     -Responsabilite
           recouvrement                 1265 boulevard Charest 0 6e
                                        etage secteur C65-6I
                                        Quebec QC GIN 4V5
           Agence du revenu du Quebec Service des dossiers de                         08/08/1989                          0.00               0.00               0.00     6
           Attn: Direction regionale du faillites
           recouvrement                 1265 boulevard Charest 0 6e
                                        etage secteur C65-6I
                                        Quebec QC G1N 4V5
           Agence du revenu du Quebec Service des dossiers de                         Ref: 16844349                  35,697.00               0.00              0.00      6
           Attn: Direction regionale du faillites
           recouvrement                 1265 boulevard Charest 0 6e
                                        etage secteur C65-6I
                                        Quebec QC G1N 4V5
           ARC - Taxe - Quebec                   Shawinigan-Sud National              (NEQ: 2270489307                    0.00               0.00              0.00     6
                                                 Verification and Collection          -Responsabilite
                                                 Centre
                                                 4695 Shawinigan-Sud Blvd
                                                 Shawinigan-Sud QC G9P 5H9
           ARC - Taxe - Quebec                   Shawinigan-Sud National              08/08/1989                         0.00                0.00              0.00     6
                                                 Verification and Collection
                                                 Centre
                                                 4695 Shawinigan-Sud Blvd
                                                 Shawinigan-Sud QC G9P 5H9
           ARC - Taxe - Quebec                   Shawinigan-Sud National              (NEQ:1170951546)                   0.00                0.00              0.00
                                                 Verification and Collection          -Responsabilite
                                                 Centre
                                                 4695 Shawinigan-Sud Blvd
                                                 Shawinigan-Sud QC G9P 5H9




                               29-mai-2019
                                   Date                                                                                            Charles KHAROUF
                                                                                                                                        Debiteur

                                                                                      Page 2 de 5
District de:        Quebec
No division:        01- Laval
No cour:
No dossier:


                                                                   FORMULAIRE 79 — Suite


                                                                          PASSIF

                                                                                                           Montant de la dette                   Entrer
                    Creancier          Adresse incluant le code postal     No de compte                                                            le
                                                                                           Non-garantie        Garantie          Privilegiee     CGP
           Banque Laurenlienne du       100 - 955 Soul de                                       3,000,00               0.00               0.00     2
           Canada                       Maisonneuve E
           Attn: Centre de recouvrement Montreal QC H2L 1Z3
           Banque Laurentienne du       100 - 955 Boul de                Marge                  3.000.00               0.00               0.00     2
           Canada                       Maisonneuve E
           Attn: Centre de recouvrement Montreal QC H2L 1Z3
           Centre de perception        2489, rue Saint-Dominique                                1,100.00               0.00               0.00     9
           Desjardins                  Jonquiere QC G7X 6K4
           CIBC do TECHCOM Managed 6-6150 Hwy 7, PO Box 486                                    9,000.00                0.00               0.00     9
           Services                Woodbridge ON L4H OR6
           CIBC do TECHCOM Managed 6-6150 Hwy 7, PO Box 486              13-29812                150.00                0.00              0.00      9
           Services                Woodbridge ON L4H OR6
           MBNA / Insolve Global Credit c/o TECHCOM Managed                                    5,000.00                0.00              0.00     9
           Fund III, L.P.               Services Inc.
                                        6-6150 Hwy 7, PO Box 487
                                        Woodbridge ON L4H OR6
           RBC Royal Bank I Banque     PO Box 57100                                           25,000.00                0.00              0.00     2
           Royale                      Etobicoke ON M8Y 3Y2
           Attn: do
           BankruptcyHighway.com
           Rogers Communications! CBV do FCT Default Solutions           6-0079-4317           1,216.00                0.00              0,00     9
           Collection                 PO Box 2514 Station B
                                      London ON NBA 4G9
           TD Canada Trust             4880 Tahoe Blvd                   Marge                 3,000.00                0.00              0.00     9
           Attn: CC&R Insolvency and   Mississauga ON L4W 5P3
           Credit Counselling
           TD Canada Trust             4880 Tahoe Blvd                                         5,000.00                0.00              0.00     5
           Attn: CC&R Insolvency and   Mississauga ON L4W 5P3
           Credit Counselling

                                                  TOTAL                  Non•garantie         91,163.00

                                                  TOTAL                  Garantie                                      0.00

                                                  TOTAL                  Privilege                                                       0.00

                                                                                                                   TOTAL           91,163.00




                         29-mai-2019
                            Date                                                                             Charles KHAROUF
                                                                                                                  Debiteur

                                                                         Page 3 de 5
District de:            Quebec
No division:            01 - Laval
No tour:
No dossier:


                                                                        FORMULAIRE 79 — Suite


                                                RENSEIGNEMENTS RELATIFS AUX AFFAIRES DU DEBITEUR
               A. Information Personnelle
               1. Nom de famille :                        Prenoms :       Charles                                   Ne(e) le : AAAA-MMM-JJ
                    KHAROUF                               Sexe :          Homme                                             1989108/08
               2. Pseudonymes :
           3. Adresse complete - y campus le code postal :
               201-427 Etienne-Lavoie
               Laval QC H7X 0B9

           4. Etat civic                                                                            Union de fait
           (Precisez to mois et fannee si fevenement est survenu dans les cinq demieres annees)
           5. Nom complet de I'epoux ou du conjoint de fait :         Annie FOUCAULT
           6. Nom du present employeur :                                            Occupation :
               Gestion de capital Westgate                                              Developpeur informatique (Temps plein)

           7A. Nombre de personnes dans runite familiale induant le debiteur:                                               2
           7B. Nombre de personnes ogees de 17 ans et mains :                                                               0
           8. Avez-vous exploite une entreprise durant les cinq demieres annees?                                          Oui
                 Nom d'entreprise                                          Type d'entreprise                                    De              A
                 9384-1898 QUEBEC INC.                                     SOCIETES DE PRETS A LA                          05-Sep-2018
                                                                           CONSOMMATION
                 SIMPLE SEO (Enregistre a Delaware. Numero: 4580339)       AGENCE PRESTATAIRE DE SERVICES                  01-Jan-2018       30-Jun-2018
                                                                           INTERNET
                 EVOLIO CALL (Enregistre a Santo Domingo, Republique       CENTRE D'APPELS                                02-May-2017        30-Jun-2018
                 Dominicaine. Enregistrement: 472953)
                 9322-4756 QUEBEC INC.                                     AGENCE DE PUBLICITE                            12-May-2015    30-Aug-2018
                 DEVCOSTRAT MARKETING ET FORMATION                         BUREAUX DE CONSEILLERS EN                       12-Dec-2014       20-Jun-2018
                                                                           GESTION

           B. AU COURS DES 12 MOIS PRECEDANT L'OUVERTURE DE LA FAURE AVEZ-VOUS, AU CANADA OU AILLEURS :

           9A. Vendu ou dispose quelques-uns de vos biens?                                                                 Non
           98. Fait des paiements en plus des remises ordinaires a vos deanders ?                                          Non
           9C, Subi des saisies de quelques biens par vos creanciers?                                                      Non
           C. AU COURS DES CINQ ANS PRECEDANT L'OUVERTURE DE LA FAILLITE, AVEZ-VOUS, AU CANADA OU AILLEURS :
           10A. Vendu ou dispose quelques biens?                                                                           Oui
           10B. Fait quelques dons de plus de 500 $ a des parents ou d'autres personnes?                                   Non




                            29-mai-2019
                                  Date                                                                              Charles KHAROUF
                                                                                                                         Debiteur

                                                                            Page 4 de 5
District de:             Quebec
No division:             01 - Laval
No tour:
No dossier:


                                                                                FORMULAIRE 79 - Fin


               D- RENSEIGNEMENTS BUDGETAIRES : Annexez le formulaire 65 au present formulaire.
               11A. Avez-vous déjà fait une proposition sous la Loi sur la faillite et l'insolvabilite?                           Non
               11B. Avez-vous déjà ate en faillite au Canada?                                                                     Non



           12. Vous attendez-vous a recevoir des sommes d'argent en dehors du cours normal des affaires ou autres biens au cours des 12 prochains
           mois?        Non
           13. Si les *uses 9, 10 et 12 sont affirmatives, veuillez donner des details :
                 10A:
                 En janvier 2013, le debiteur et sa mere, Madame Bernadette Ego, ont achele l'immeuble sis au 4-810, rue Etienne-Lavoie a Laval,
                 province de Quebec. Le central de vente (numero d'inscription :19 693 006) stipulait que la mise de fonds effectuee entierement
                 par Madame Ego, une somme de 45 000$, lui serait returnee advenant la revente de la maison. C'est ainsi qu'en decembre
                 2016, a la suite de la vente de l'immeuble, IsweRNigiiiikrINIO$ a ete retournee a Madame Ego. te-restelft-preeltilt-de-tervenie-,--
                                                                 aye                                     tes.          .,,, 1
                                                                                                                            . .,....
                                                               f      '                                                ,A
                                                                                                                      t..
           14. Donnez les raisons de vos difficultes financieres :
                 Les difficultes financieres des societes ont ate supportees par l'administrateur a l'aide de ses diverses cartes et merges de credits
                 personnelles.
                 Les socCes ne sont pas en operations.



              Je, Charles KHAROUF, de Laval en la province de Quebec, etant dument assermente (ou ayant declare solennellement) declare que le bilan
         est, a ma connaissance, un releve complet, veridique et entier de mes affaires en ce 29 mai 2019, et indique au complet tous mes biens et
         transactions de quelque nature qu'ils soient, en ma possession et devolus, tel que Minis par la Loi sur la faillite et l'insolvabilite.



         ASSERMENTE (ou DECLARE SOLENNELLEMENT)
         devant moi le 29 mai 2019 de Laval en la province de Quebec.




         Olivier Boyd, o is I              I' sermentation
         Pour la province de b
         Expire le 9 decembr




                              29-mai-2019
                                  Date                                                                               Charles KHAROUF
                                                                                                                          Debiteur

                                                                                     Page 5 de 5
District de:               Quebec
No division:               01 - Laval
No cour:
No dossier:
                                                             - FORMULAIRE 65 -
                                 Etat mensuel des revenus et depenses d'un failli et de ('unite familiale et
                                            Information (ou Information modifiee) concemant
                                                       la situation financiere dun failli
                                       (article 68 et paragraphe 102(3) de la Loi et Regle 105(4))
                                                                                               Bilan    EI original             modifie
                                              Dans l'affaire de la proposition de consommateur de
                                                                Charles KHAROUF
                                                de la Ville de Laval, dans la province de Quebec
   Les renseignements concemant Mat mensuel des revenus et depenses du debiteur et de ('unite familiale, la situation financiere du
debiteur et ('obligation du debiteur de faire les versements a l'actif de la proposition en vertu del' article 68 de la Loi sent les suivants :


REVENU MENSUEL                                                                 Autres membres de                                  Total
                                                                                 r unite familiale
                                                             /137;138
   Revenus d'emploi nets
   Pension et rentes nettes                                            0.00
   Pension alimentaire nette pour les enfants                          0.00
   Pension alimentaire nette pour le conjoint                          0.00
   Prestations d'assurance-emploi nettes                               0.00
   Prestations d'assistance sociale nettes                             0.00
   Revenu dun travail independent
   Brut 0.00 Net                                                       0.00
   Allocations familiales                                              0.00
   Autres revenus nets                                                 0.00
TOTAL DU REVENU MENSUEL                             /7?94r       atE06,0 (1)                0.00 (2)*
                                                                                                                               /1W
TOTAL DU REVENU MENSUEL DE L'UNITE FAMILIALE ((1) + (2))                                                                        4097700 (3)

DEPENSES MENSUELLES NON DISCRETIONNAIRES

 Pension alimentaire pour les enfants                                  0.00
 Pension alimentaire pour le conjoint                                  0.00

 Frais de garde d'enfants                                              0.00
 Depenses relatives a une condition medicale                           0.00

 Amendes et *elites imposees par le tribunal                           0.00
 Depenses relatives a une condition d'emploi                           0.00

 Dettes sujettes a une levee des procedures                            0.00
 Autres depenses                                                       0.00

TOTAL DES DEPENSES MENSUELLES
                                                       0.00(4)   0.00(5)
NON DISCRETIONNAIRES
TOTAL DES DEPENSES MENSUELLES NON DISCRETIONNAIRES DE L'UNITE FAMILIALE ((4) + (5)) . . .                                         0.00      (6)
REVENU MENSUEL DISPONIBLE DU FAILLI ((1) -
(4))                                              2,167.00(7)                                                              ,9a
REVENU MENSUEL DISPONIBLE DE L'UNITE FAMILIALE ((3) - (6))                                                                   WW1°           (8)
POURCENTAGE DU REVENU MENSUEL DISPONIBLE DE L'UNITE FAMILIALE
ATTRIBUABLE DU FAILLI ((7)1(8) X 100)                                                                                           100.00 % (9)




                                                                Page 1 de 2
                                                         - FORMULAIRE 65 - Fin -
DEPENSES MENSUELLES DISCRETIONNAIRES (Unite familiale) :
Depenses relatives au logement                                        Depenses de frais de subsistance
    Loyer/Hypotheque                                  613.00                   Nourriture/Epicerie                          &We
    Taxes fonciereS/Frais de copropriete...              0.00                  Buanderie/Nettoyage a sec                      0.00
    Chauffage/Gaz./Huile                               60.00                   Soins personnels                              50.00
    Telephone                                          45.00                   Vetements                                     50.00
    Cable                                                0.00                  Autre                                          0.00
   Electricite                                         75.00            Depenses de transport
   Eau                                                   0.00                  Location/Paiements pour automobile             0.00
    Ameublement                                          0.00                  Entretien/Reparation/Essence                   0.00
   Autre                                                0.00                   Transport en commun                            0.00
Depenses personnelles                                                          Autre: Provisions transport.                 420.00
   Tabac                                                0.00            Depenses d'assurance
   Alcool                                               0.00                   Vehicule                                       0.00
   Repas/Restaurants                                  .80.00                   Matson                                        34.00
   Divertissements/Sports                             -20.00                   Ameublement/Autres biens                       0,00
   Cadeaux/Dons de charite                              0.00                   Vie                                            0.00
   Allocations                                          0.00                   Autre                                          0.00
   Autre                                                0.00              Paiements
Depenses medicates non remboursables                                           A la proposition                            150.00
   Prescriptions                                       10.00                   Effectues a un creancier garanti . . ..        0.00
   Soins dentaires                                     20.00                   (Autres que l'hypotheque et le vehicule)       0.00
   Autre                                                0.00                   Autre                                          0.00

TOTAL DES DEPENSES MENSUELLES DISCRETIONNAIRES (UNITE FAMILIALE)                                                          2,167.00 (10)
SURPLUS (DEFICIT) MENSUEL (UNITE FAMILIALE) ((8) - (10)) . . ... .. ... .                                                     0.00 (11)

Note:
        Le montant attribue au layer represente uniquement la portion payee par le debiteur.

        Le conjointe du debiteur ne veut pas divulguer ses revenus.

        Le vehicule du debiteur, Mini Copper 2007, requiert des reparations. Ceci a ete provisionne dans les depenses de transport et
        ce afin de couvrir la carte de transport en commun, les frais des plaques, Ie coOt de ('essence et l'entretien.

Date le 29 mai 2019, a Laval en la province de Quebec.

MNP LTEE - Sy          autorise en insolvabilite


11    out. Re Lev       e Ouest, 19e etage
Montreal QC H'     '2
                                                                                                        Charles KHAROUF
Telephone: (514) 932-4115 Telecopieur: (514) 932-9195




                                                                Page 2 de 2
District de:        Quebec
No division:        01 - Laval
No cour:
No dossier:         XX-XXXXXXX

                                                          FORMULAIRE 37.1
                                                        Formulaire de votation
                                                     (alinda 66.15(3)c) de la Loi)
                                        Dans I'affaire de la proposition de consommateur de
                                                          Charles KHAROUF
                                         de la Ville de Laval, dans la province de Quebec
1. Je,                               creancier (ou Je,                           , representant de
oleander), de                              , creancier dans l'affaire susmentionnee  a regard de la somme de                        $.
declare cornprendre ce qui suit
     a) En tant que creancier ayant prouve une reclamation, je peux, lors de ['assemblee des creanciers ou avant la tenue de
     celle-ci, ou encore avant ['expiration des 45 jours suivant le depot de la proposition, indiquer si j'approuve ou desapprouve la
    proposition de consommateur;
    b) Un vote CONTRE ('acceptation de la proposition de consommateur n'est pas une demande en vue de la convocation
     d'une assemblee des creanciers pour ('application de ralinea 66.15(2)b) de la Loi et ne sera pas calcule dans le cadre d'un
     vote portant sur la proposition de consommateur, a mains qu'une assemblee des oleanders soit convoquee;
     c) L'administrateur de la proposition de consommateur sera tenu de convoquer une assemblee des creanciers dans la
    mesure ou, selon le cas, en vertu de ('article 66.15 de la Loi :
       - dans les 45 jours suivant le depot de la proposition de consommateur, si le sequestre officiel lui enjoint de convoquer
    une Celle assemblee; ou
        - des oleanders representant en valeur au mains 25 p. 100 des reclamations prouvees en font la demande avant
    ['expiration des 45 jours suivant le cEpot de la proposition de consommateur.
    d) Si une assemblee des creanciers n'est pas convoquee, la proposition de consommateur est reputee, en vertu du
    paragraphe 66.18(1) de Ia Loi, avoir ete ac,ceptee par les oleanders, sans egard a toute desapprobation revue par
    I'administrateur de la proposition de consommateur.
2. Je demande (Cochez et remplissez la section pertinente)
            I'administrateur agissant relativement a la proposition de consommateur de consigner mon vote EN FAVEUR de
          racceptatian de la proposition de consommateur, faite le 29 mai 2019.

   ❑      a I'administrateur agissant relativement a la proposition de consommateur d'enregistrer mon vote CONTRE
          ('acceptation de la proposition de consommateur comme fait Ie29 mai 2019 .

   ri     a I'administrateur agissant relativement a la proposition de consommateur d'enregistrer mon vote CONTRE
          ['acceptation de la proposition de consommateur comme fait le 29 mai 2019 et JE DEMANDE QU'UNE ASSEMBLEE
          SOIT CONVOQUEE.

Date le                                             ,


Ternoin                                                       Nom du oleander ou le representant du creancier
Retaumez A:            MNP LTEE - Syndic autorise en insolvabilite
                       1155, boul. Rene-Levesque Ouest, 19e etage
                       Montreal QC H3B 4V2
                       Telephone: (514) 932-4115 Telecopieur. (514) 932-9195




                                                            Page 1 de 1
District of:         Quebec
Division No.         01 - Laval
Court No.
Estate No.           XX-XXXXXXX
                                                        FORM 37.1
                                                       Voting Letter
                                              (Paragraph 66.15(3)(c) of the Act)
                                          In the matter of the consumer proposal of
                                                       Charles KHAROUF
                                        of the city of Laval, in the Province of Quebec
1. I,                                         , creditor (or I,                                          , representative of
                                      , creditor), of                         , a creditor in the above matter for the sum of
$                   , hereby understand that
    (a) as a creditor who has proven claim, I may indicate assent to or dissent from the consumer proposal at or prior to
    a meeting of creditors, or prior to the expiration of the 45-day period following the filing of the consumer proposal;
    (b) a vote AGAINST the consumer proposal is not a deemed request for a meeting of creditors for the purpose of
    paragraph 66.15(2)(b) of the Act, and will not be counted in a vote on the consumer proposal unless a meeting of
    creditors is called;
    (c) the administrator of the consumer proposal will be required to call a meeting of creditors only if, pursuant to
    section 66.15 of the Act
    - he/she is directed to do so by the official receiver within the 45-day period after the filing of the consumer
    proposal; or
    - at the expiration of the 45-day period after the filing of the consumer proposal, creditors having in the aggregate
    at least 25 percent of the value of proven claims have so requested.
    (d) if no meeting of creditors is called, the consumer proposal shall, by virtue of subsection 66.18(1) of the Act, be
    deemed to have been accepted by the creditors, regardless of any dissent(s) the administrator of the consumer
    proposal may have received.
2. I hereby request (Check and complete the appropriate section)
    n     the administrator acting with respect to the consumer proposal to record my vote FOR the acceptance of the
    '     consumer proposal as made on the 29th day of May 2019.

    El the administrator acting with respect to the consumer proposal to record my vote AGAINST the acceptance of
    ' the consumer proposal as made on the 29th day of May 2019;

    0     the administrator acting with respect to the consumer proposal to record my vote AGAINST the acceptance of
          the consumer proposal as made on the 29th day of May 2019 and REQUEST THAT A MEETING OF
          CREDITORS BE CONVENED.
Dated at                                      , this        day of


Witness                                                        Name of Creditor or Representative of Creditor
Return To:               MNP LTEE - Licensed Insolvency Trustee
                         1155, boul. Rene-Levesque Ouest, 19e stage
                         Montreal QC H3B 4V2
                         Phone: (514) 932-4115 Fax: (514) 932-9195




                                                         Page 1 of 1
District de:         Quebec
No division:         01- Laval
No tour:
No dossier:          XX-XXXXXXX

                                            FORMULAIRE 36
                                         Formulaire de procuration
                             (paragraphe 102(2) et arks 51(1)e) et 66.15(3)b)
                                                 de la Lo)

                             Dans l'affaire de la proposition de consommateur de
                                              Charles KHAROUF
                              de la Ville de Laval, dans la province de Quebec

Je,                          , de                                , creancier dans l'affaire susmentionnee,
nomme                                             , de                                              , mon
fonde de pouvoir a tous egards dans l'affaire susmentionnee, sauf la reception de dividendes, celui-ci
                  (etant ou n'etant pas) habilite a nommer un autre fond& de pouvoir a sa place.



Date le                                              a



Ternoin                                                    Creancier (personne physique)


                                                           Creancier (personne morale)

                                                     Par
Temoin                                                     Nom et titre du signataire autorise



Retoumez a :
MNP LTEE - Syndic autorise en insolvabilite
1155, boul. Rene-Levesque Ouest, 19e etage
Montreal QC H3B 4V2
Telephone: (514) 932-4115 Telecopieur: (514) 932-9195




                                                Page 1 de 1
District of:      Quebec
Division No.      01- Laval
Court No.
Estate No.        XX-XXXXXXX
                                                 FORM 36
                                                   Proxy
                    (Subsection 102(2) and paragraphs 51(1)(e) and 66.15(3)(b) of the Act)

                                   In the matter of the consumer proposal of
                                                Charles KHAROUF
                                 of the city of Laval, in the Province of Quebec
                                       , of                        , a creditor in the above matter, hereby
appoint                                            , of                                                 , to be
my proxyholder in the above matter, except as to the receipt of dividends,                 (with or without)
power to appoint another proxyholder in his or her place.



Dated at                                              , this            day of



Witness                                                        Individual Creditor


Witness                                                        Name of Corporate Creditor

                                                         Per
                                                               Name and Title of Signing Officer

Return To:

MNP LTEE - Licensed Insolvency Trustee
1155, boul. Rene-Levesque Ouest, 19e stage
Montreal QC H3B 4V2
Phone: (514) 932-4115 Fax: (514) 932-9195




                                                 Page 1 of 1
                                                                                                                                      MNP LTEE
                                                                                                       1155, bout. Rene-Levesque Ouest, 19e &age
                                                                                                                            Montreal QC H3B 4V2
                                                                                          Telephone: (514) 932-4115 Telecopleur: (514) 932-9195


  District de:               Quebec
  No division:               01 - Laval
  No cour:
  No dossier:                41.2517037
                                                                  FORMULAIRE 31
                                                                Preuve de reclamation
                       (articles 50.1, 81.5 et 81.6, paragraphes 65.2(4), 81.2(1), 81.3(8), 81.4(8), 102(2), 124(2) et 128(1)
                                                        et alineas 51(1)e) et 66.14b de Ia Loi)
                                                Dans I'affaire de la proposition de consommateur de
                                                                 Charles KHAROUF
                                                 de la Ville de Laval, dans la province de Quebec

Exp§dier tout avis ou toute correspondance concernant la presents reclamation a I'adresse suivante




     Dans l'affaire de la proposition de Charles KHAROUF de Laval en la province de Quebec et de la reclamation de
                                        creancier.

       Je,                                             (nom du creancier ou du representant du creander) de la ville de                             de la
province de                       certifie ce qui suit :

     1. Je suis le creancier du debiteur susnomme (ou Je suis                                       (le posteila fonction) du
creancier).

      2. Je suis au courant de toutes les circonstances entourant la reclamation visee par le present formulaire.

       3. Le debiteur eta, a la date de la proposition, soft le 30 mai 2019, endette envers le creancier et rest toujours, pour la somme de
                                $, comme l'indique retat de compte (ou ['affidavit) &annexe et designe comme ('annexe A, ages deduction du
montant de toute creance compensatoire a laquelle le debiteur a droit. (L'etat de compte ou ?affidavit annexe doit fake mention des pieces
justificatives ou de toute autre preuve l'appui de la reclamation.)

      4. (Cochez la categorie qui s'applique et remplissez les parties requises.)

       O         A. RECLAMATION NON GARANTIE AU MONTANT DE
              (afire qu'une reclamation d'un client visee par ?article 262 de la Loi)
              En ce qui conceme cette creance, je ne Miens aucun avoir du debiteur a titre de garantie et :
                                                             (Cochez ce qui s'applique.)
       O pour le montant de                                  $, je ne revendique aucun droit a un rang prioritaire.
       O      pour le montant de                             $, je revendique le droit a un rang prioritaire en vertu de ['article 136 de Ia Loi.
                                 (Indiquez sur une feuiile annexee les renseignements a l'appui de la reclamation prioritaire.)
       O      B. RECLAMATION DU LOCATEUR SUITE A LA RESIUATION D'UN BAIL, AU MONTANT DE
              J'ai une reclamation en vertu du paragraphe 65.2(4) de la Loi, dont les details sont mentionnes ci-apres :
                                       (Donnez tous les details de la reclamation, y compris les calculs s'y rapportant.)
       O      C. RECLAMATION GARANTIE AU MONTANT DE
              En ce qui conceme la creance susmentionnee, je aliens des avoirs du debiteur a titre de garantie, dont la valeur estimative
              s'eleve a                           $ et dont les details sont mentionnes ci-apres :
              (Donnez des renseignements complets au sujet de la garantie, y compris la date a laquelle elle a ete donee et la valeur que
              vous lui attribuez, et annexez une copie des documents relatifs a la garantie.)

      O       D. RECLAMATION D'UN AGRICULTEUR, D'UN PECHEUR OU D'UN AQUICULTEUR AU MONTANT DE
              J'ai une reclamation en vertu du paragraphe 81.2(1) de la Loi pour la somme impayee de
                                            (Veuillez joindre une copie de l'acte de vente et des recus de livraison).
                                                                    Page 1 de 2
                                                     FORMULAIRE 31 — Fin
        O         E. RECLAMATION D'UN SALARIE AU MONTANT DE
        ❑         J'ai une reclamation en vertu du paragraphe 81.3(8) de la Lai au montant de
        ❑         J'ai une reclamation en vertu du paragraphe 81.4(8) de la Loi au montant de

        O         F. RECLAMATION D'UN EMPLOYE RELATIVE AU REGIME DE PENSION AU MONTANT DE                                                                                                       $
        ❑         J'ai une reclamation en vertu du paragraphe 81.5 de la Loi au montant de
        ❑         J'ai une reclamation en vertu du paragraphe 81.6 de la Loi au montant de

        El     G. RECLAMATION CONTRE LES ADMINISTRATEURS AU MONTANT DE
               (A remplir forsque la proposition vise une transaction quanta une reclamation contra les administrateurs.)
               Sal une reclamation en vertu du paragraphe 50(13) de la Loi, dont les details sont mentionnes ci-apres :
               (Donnez tous les details de la reclamation, y compris !es calculs sy rapportant.)
        O      H. RECLAMATION D'UN CLIENT D'UN COURTIER EN VALEURS MOBILIERES FAILLI AU MONTANT DE
               Sal une reclamation en tent que client en conformite avec radicle 262 de la Loi pour des capitaux nets, dont les details sont
               mentionnes ci-apres
               (Donnez tous les details de la reclamation, y compris les calculs s'y rapportant.)
     5. Au meilleur de ma connaissance, je                    (suis/ne suis pas)(ou le creancier susnomme                (estln'est pas)) lie au
debiteur selon I'artide 4 de la Loi,et (cal/le creancier susnomme alje n'ai pas/le creancier susnomme n'a pas) un lien de dependance avec le
debiteur.

     6. Les montants suivants constituent les paiements que j'ai regus du debiteur et les credits que j'ai attribues a celui-ci et les operations
sous-evaluees selon le paragraphe 2(1) de la Loi auxquelles j'ai contribue ou ate partie interessee au cours des trois mois (ou, si le creancier et
le debiteur sont des 'personnel Nee au sens du paragraphe 4(2) de la Loi ou ant un lien de dependance, au cours des douze mois)
precedent immediatement l'ouverture de la faillite, telle que defini au paragraphe 2(1) de la Loi. (Donnez les details des paiements, des credits
et des operations sous-evaluees.)

      7. (Applicable seulement dans le cas de la faillite dune personne physique)
          O Lorsque le syndic doit reexaminer la situation financiere du failli pour determiner si celui-ci est tenu de verser les paiements
             prevus a ('article 68 de la LFI, je demande que l'on m'avise, conformement au paragraphe 68(4) de la Loi, du nouveau montant
             que le failli est tenu de verser a I'actif de la faillite ou du fait que le failli n'a plus de revenu excedentaire.
         O Je demande qu'une copie du rapport dOment rempli par le syndic quant a la demande de liberation du faith, en conformite avec le
           paragraphe 170(1) de la Loi, me salt expediee a I'adresse susmentionnee.

     Date le


                                Temoin
                                                                                                                                                      Creancier
                                                                                                    Numero de telephone :
                                                                                                    Numero de telecopieur :
                                                                                                    Adresse electronique :
ROAARQUE:             Si un affidavit est joint au present fonnulaire. I doit avow ete fait devant une personne autclisee a recevoir des affidavits

AVERTISSEMENTS:       Le %sulk pent en vertu du paragraphs 128(3) de la Lid, racheter one prate sir palement au deader game de la creave ou de la valeur de la gerund° Celle ode% a Site fixes par
                      le creancler garang dans la preuve de parent*.

                      Le paragraphe 201(1) de la Loi pewit rimposilion de pelnes sevens enus de presentation de redamsdions. de preuves. de declarations ou datats de compte qui sontIan




                                                                                             Page 2 de 2
                                                                                                                                    MNP LTEE
                                                                                                     1155, boul. Rene-Levesque Quest, 19e etage
                                                                                                                          Montreal QC H3B 4V2
                                                                                                    Phone: (514) 932-4115 Fax: (514) 932-9195



  District of:          Quebec
  Division No.          01 - Laval
  Court No.
  Estate No.            XX-XXXXXXX
                                                                  FORM 31
                                                                Proof of Claim
                       (Sections 50.1, 81.5, 81.6, Subsections 65.2(4), 81.2(1), 81.3(8), 81.4(8), 102(2), 124(2), 128(1),
                                               and Paragraphs 51(1)(e) and 66.14(b} of the Act)
                                                    In the matter of the consumer proposal of
                                                                 Charles KHAROUF
                                                  of the city of Laval, in the Province of Quebec

All notices or correspondence regarding this claim must be forwarded to the following address:




     In the matter of the proposal of Charles KHAROUF of the city of Laval in the Province of Quebec and the daim of
                                      , creditor.
                                                   (name of creditor or representative of the creditor), of the city of                      in the
province of                   , do hereby certify:

      1. That I am a creditor of the above named debtor (or 1 am                                 (position/title) of
creditor),

     2. That I have knowledge of all the circumstances connected with the claim referred to below.

     3. That the debtor was, at the date of proposal, namely the 30th day of May 2019, and still is, indebted to the creditor in the sum of
                               as specified in the statement of account (or affidavit) attached and marked Schedule "A', after deducting any
counterclaims to which the debtor is entitled. (The attached statement of account or affidavit must specify the vouchers or other evidence in
support of the claim.)

     4. (Check and complete appropriate category.)
        ❑ A. UNSECURED CLAIM OF $
              (other than as a customer contemplated by Section 262 of the Act)
        That in respect of this debt, I do not hold any assets of the debtor as security and
                                                             (Check appropriate description.)
        ❑     Regarding the amount of $                                   I claim a right to a priority under section 136 of the Act.
        ❑     Regarding the amount of $                                 I do not claim a right to a priority.
                                                (Set out on an attached sheet details to support priority claim.)
        ❑     B. CLAIM OF LESSOR FOR DISCLAIMER OF A LEASE $
       That I hereby make a claim under subsection 65.2(4) of the Act, particulars of which are as follows:
                            (Give fullparticulars of the claim, including the calculations upon which the claim is based.)
       El     C. SECURED CLAIM OF $
       That in respect of this debt, I hold assets of the debtor valued at $                       as security, particulars of which are as follows:
       (Give full particulars of the security, including the date on which the security was given and the value at which you assess the security,
       and attach a copy of the security documents.)
       ❑ D. CLAIM BY FARMER, FISHERMAN OR AQUACULTURIST OF $
       That I hereby make a claim under subsection 81.2(1) of the Act for the unpaid amount of $
                                            (Attach a copy of sales agreement and delivery receipts.)




                                                                   Page 1 of 2
                                                                                      FORM 31 — Concluded

           El     E. CLAIM BY WAGE EARNER OF $
           El     That I hereby make a claim under subsection 81.3(8) of the Act in the amount of $
           El     That I hereby make a claim under subsection 81.4(8) of the Act in the amount of $                                                         ,

           1:1    F. CLAIM BY EMPLOYEE FOR UNPAID AMOUNT REGARDING PENSION PLAN OF $
           ❑      That I hereby make a claim under subsection 81.5 of the Act in the amount of $                                             _
           1:1    That I hereby make a claim under subsection 81.6 of the Act in the amount of $

           1:1    G. CLAIM AGAINST DIRECTOR $
           (To be completed when a proposalprovides for the compromise of claims against directors.)
           That I hereby make a claim under subsection 50(13) of the Act, particulars of which are as follows:
           (Give full particulars of the claim, including the calculations upon which the claim is based.)

           El H. CLAIM OF A CUSTOMER OF A BANKRUPT SECURITIES FIRM $
           That I hereby make a claim as a customer for net equity as contemplated by section 262 of the Act, particulars of which are as follows:
           (Give Mt particulars of the claim, including the calculations upon which the claim is based.)
      5. That, to the best of my knowledge, I                                           (am/am not) (or the above-named creditor                   (isfis not)) related to the
 debtor within the meaning of section 4 of the Act, and                                    (have/has/have not/has not) dealt with the debtor in a non-arm's-length manner.

       6. That the following are the payments that I have received from, and the credits that I have allowed to, and the transfers at undervalue
 within the meaning of subsection 2(1) of the Act that I have been privy to or a party to with the debtor within the three months (or, if the creditor
 and the debtor are related within the meaning of section 4 of the Act or were not dealing with each other at arm's length, within the 12 months)
 immediately before the date of the initial bankruptcy event within the meaning of Section 2 of the Act: (Provide details of payments, credits and
 transfers at undervalue.)

       7. (Applicable only in the case of the bankruptcy of an individual.)

        El Whenever the trustee reviews the financial situation of a bankrupt to redetermine whether or not the bankrupt is required to make
           payments under section 68 of the Act, I request to be informed, pursuant to paragraph 68(4) of the Act, of the new fixed amount or
           of the fact that there is no longer surplus income.

        1:1 I request that a copy of the report filed by the trustee regarding the bankrupts application for discharge pursuant to subsection
            170(1) of the Act be sent to the above address.


Dated at                                                                               this                                   day of



                      Witness
                                                                                                                                                                  Creditor
                                                                                                                          Phone Number:
                                                                                                                          Fax Number :
                                                                                                                          E-mail Address :

NOTE        If an affidavit is attached. it must have been made before a person quelled to take affidavits
WARNINGS    A trustee may. pursuant to subsecbon 128(3) of the Act redeem a security on payment to the secured minx of the debt or the value of the security as assessed, in a proof of
            secuidy, by the secured creditor.
            Subsection 201(1) dine Act provides severe penathes for making any false claim, proof. declaration or statement of account




                                                                                              Page 2 of 2
District de:        Quebec
No division:        01 - Laval
No tour:
No dossier:         XX-XXXXXXX

                                                FORMULAIRE 01.1

               Identification generale de rexpediteur pour copies de taus formulaires prescrits
                               envoyes au(x) creancier(s) par vole electronique

                                 Dans I'affaire de la proposition de consommateur de
                                                  Charles KHAROUF
                                  de la Ville de Laval, dans la province de Quebec


Date le 10 juin 2019, a Laval en la province de Quebec.



                   Personne responsable (expediteur) : Olivier Boyd
                                                       (Administrateur de la Proposition de Consommateur)
                                   Denomination sociale: MNP LTEE

                                               Adresse : 1155, boul. Rene-Levesque Ouest, 19e stage
                                                         Montreal QC H3B 4V2



                                             Telephone : (514) 932-4115
                                            Telecopieur : (514) 932-9195
                                                Courriel :


                                                        AVIS

   Veuillez prendre note que la personae susmentionnbe est tenue de conserver la copie originate signee du
                    present document dans les dossiers officiels de la presente procedure.
No. Cour:

No. Dossier:    XX-XXXXXXX


Dans I'affaire de la proposition de consommateur de
                 Charles KHAROUF
 de la Ville de Laval, dans la province de Quebec


                    Formulaire 01.1
 Identification generale de l'expediteur pour copies
              de tous formulaires prescrits




    MNP LTEE - Syndic autorise en insolvabilite
                     Par:


 Olivier Boyd - SAI, Administrateur de la Proposition
                  de Consommateur
    1155, boul. Rene-Levesque Quest, 19e etage
                Montreal QC 1138 4V2
  Telephone: (514) 932-4115 Telecopieur (514)
                      932-9195
District de : QC
N° Division : 01 - Laval
N° Cour :
N° Dossier : XX-XXXXXXX



                   Dans l'affaire de la proposition de consommateur de
                                     Charles KHAROUF
                     de Ia Ville de Laval, dans la province de Quebec




                                           AFFIDAVIT


Je, soussigne(e) du bureau de syndic MNP LTEE, declare solennellement :

Que, le 10 juin 2019, j'ai envoys par courrier ordinaire au debiteur une copie de l'avis aux
creanciers de la proposition de consommateur, une copie de la proposition, une copie du
rapport de l'administrateur, une copie d'un etat succinct des avoirs, obligations et revenus et
depenses, une preuve de reclamation et une procuration en blanc.




Signature



Declare solennellement devant moi dans la ville de
Montreal, dans la province de Quebec, le
10 juin 2019.


                                       #

Commissaire l'assermentation pour to
Districts judiciaires du Quebec
                              OTHERS ENTITLED TO NOTICE



all persons or bodies authorized to administer foreign proceedings of the debtor

MNP Trustee, LTD
c/o Olivier Boyd
1155 Boul. Rene-Levesque Ouest
19th Floor
Montreal Quebec H3B4V2
Canada


all parties to litigation pending in the United States in which the debtor is a party at the
time of filing of this petition:

See attached Parties Sheet which is incorporated by reference and for the parties without an
address listed on the Parties Sheet:

Sam Madi
508 Fouquet Street
Laval, Quebec H7X3J5
Canada

Educare Centre Services, Inc., also dba Credit Card Services, Card
Services, Credit Card Financial Services, Care Net, Tripletel, Inc., Revit Educ Srvc, L.L.
Vision, Care Value Services, and Card Value Services
244 5th Avenue, Suite 11417
New York, NY 10001

Tripletel, Inc.
910 Foulk Road, Suite 201
Wilmington, DE 19803

Prolink Vision, S.R.L.
Av. 27 de Febrero Esq. Tiradentes, Plaza Merengue,
Segundo Piso, Local 214, Ens. Naco, Santo Domingo
Dominican Republic

Wissam Abedel Jilal
Address unknown

all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy
Code

None.
  Centralized CM/ECF LIVE - U.S. District Court:txwd-Query Parties                                             Page 1 of 7



           3:19-cv-00196-KC Federal Trade Commission et al v. Educare Centre Services, Inc. et al
                                     Kathleen Cardone, presiding
                                       Date filed: 07/18/2019
                                    Date of last filing: 09/10/2019

                                                                     Parties

     Educare Centre Services, Inc.
     a New Jersey corporation, also dba
     Credit Card Services, Card Services,
     Credit Card Financial Services, Care
     Net, Tripletel Inc., Revit Educ Srvc,
     L.L. Vision, care Value Services, and
     Card Value Services

     Added: 07/18/2019
     (Defendant)


    Federal Trade Commission                                                   J. Ronald Brooke, Jr.
    Added: 07/18/2019                                                          Federal Trade Commission
    (Plaint jD                                                                 600 Pennsylvania Ave., NW Mailstop
                                                                               CC-8528
                                                                 represented   Washington, DC 20580
                                                                 by            202-326-3484
                                                                               jbrooke@ftc.gov
                                                                               Assigned: 07/18/2019
                                                                               LEAD ATTORNEY
                                                                               ATTORNEY TO BE NOTICED


                                                                               Christopher E. Brown
                                                                               Federal Trade Commission
                                                                               600 Pennsylvania Ave., NW
                                                                               Washington, DC 20580
                                                                               202-326-2825
                                                                               202-326-3395 (fax)
                                                                               cbrown3@ftc.gov
                                                                               Assigned: 07/19/2019
                                                                               LEAD ATTORNEY
                                                                               ATTORNEY TO BE NOTICED


    Wissam Abedel Jilal
    individually and as an owner, officer,
    member, and/or manager of
    ProlinkVision, S.R.L.,




https://ecf.txwd.uscourts.govicgi-bin/qryParties.pP1045007                                                    9/12/2019
   Centralized CWECF LIVE - U.S. District Court:txwd-Query Parties                                                     Page 2 of 7



      Added: 07/18/2019
      (Defendant)


      Charles Kharouf                                                              Daniel H. Hernandez
      individually and as an owner, officer,                                       Ray, Valdez, McChristian & Jeans
      member, and/or manager of Prolink                                            A Professional Corporation
      Vision, S.R.L.,                                                              5822 Cromo,Suite 400
                                                                                   El Paso, TX 79912
                                                                     represented
     427 Etienne-Lavoie                                                            915-832-7200
                                                                     by
     Apt. 21                                                                       915-832-7333 (fax)
     Laval, QC H7X OB4                                                             dhernandez@raylaw.com
     Canada                                                                        Assigned: 08/26/2019
     Added: 07/18/2019                                                             LEAD ATTORNEY
     (Defendant)                                                                   ATTORNEY TO BE NOTICED


    Sam Madi
    individually and as an
    owner,officer,member,and/or
    manager of Educare Centre Services,
    Inc., dba Credit Card Services,Card
    Services,Credit Card Financial
    Services,Care Net,Tripletel,
    Inc.,Revit Educ
    Srvc,.L.LVision,CareValueServices,
    and CardValueServices

    Added: 07/18/2019
    (Defendant)


    Prolink Vision, S.R.L.                                                         Genevieve C. Bradley
    a Dominican Republic limited                                                   Roth Jackson
    liability company                                                              8200 Greensboro Drive, Suite 820
                                                                                   McLean, VA 22102
    Added: 07/18/2019                                            represented       703-485-3532
    (Defendant)                                                  by                703-485-3525 (fax)
                                                                                   gbradley@rothjackson.com
                                                                                   Assigned: 08/07/2019
                                                                                   LEAD ATTORNEY
                                                                                   ATTORNEY TO BE NOTICED


                                                                                   Daniel H. Hernandez
                                                                                   Ray, Valdez, McChristian & Jeans
                                                                                   A Professional Corporation
                                                                                   5822 Cromo,Suite 400
                                                                                   El Paso, TX 79912
                                                                                   915-832-7200



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   Centralized CM/ECF LIVE - U.S. District Court:bowd-Query Parties                                                 Page 3 of 7



                                                                                 915-832-7333 (fax)
                                                                                 dhemandez@raylaw.com
                                                                                 Assigned.• 07/30/2019
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED


                                                                                Aldo R. Lopez
                                                                                Ray, McChristian & Jeans, P.C.
                                                                                5822 Cromo Dr.
                                                                                El Paso, TX 79912
                                                                                915-832-7200
                                                                                915-832-7333 (fax)
                                                                                alopez@raylaw.com
                                                                                Assigned: 07/30/2019
                                                                                LEAD ATTORNEY
                                                                                ATTORNEY TO BE NOTICED


                                                                                Mitchell N. Roth
                                                                                Roth Jackson Gibbons Condlin, PLC
                                                                                8200 Greensboro Drive, Suite 820
                                                                                McLean, VA 22102
                                                                                703-485-3535
                                                                                703-485-3525 (fax)
                                                                                mroth@rothdonerjackson.com
                                                                                Assigned: 08/08/2019
                                                                                LEAD ATTORNEY
                                                                                ATTORNEY TO BE NOTICED


    Relief Defendant 9896988 Canada,                                            Genevieve C. Bradley
    Inc.                                                                        Roth Jackson
    Added: 07/22/2019                                                           8200 Greensboro Drive, Suite 820
    (Defendant)                                                                 McLean, VA 22102
                                                                  represented   703-485-3532
                                                                  by            703-485-3525 (fax)
                                                                                gbradley@rothjackson.com
                                                                                Assigned: 08/07/2019
                                                                                LEAD ATTORNEY
                                                                                ATTORNEY TO BE NOTICED


                                                                                Daniel H. Hernandez
                                                                                Ray, Valdez, McChristian & Jeans
                                                                                A Professional Corporation
                                                                                5822 Cromo,Suite 400
                                                                                El Paso, TX 79912
                                                                                915-832-7200
                                                                                915-832-7333 (fax)



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  Centralized CM/ECF LIVE - U.S. District Court:txwd-Query Parties                                              Page 4 of 7



                                                                               dhernandez@raylaw.com
                                                                               Assigned: 07/30/2019
                                                                               LEAD ATTORNEY
                                                                               ATTORNEY TO BE NOTICED


                                                                               Aldo R. Lopez
                                                                               Ray, McChristian & Jeans, P.C.
                                                                               5822 Cromo Dr.
                                                                               El Paso, TX 79912
                                                                               915-832-7200
                                                                               915-832-7333 (fax)
                                                                               alopez@raylaw.com
                                                                               Assigned: 07/30/2019
                                                                               LEAD ATTORNEY
                                                                               ATTORNEY TO BE NOTICED


                                                                               Mitchell N. Roth
                                                                               Roth Jackson Gibbons Condlin, PLC
                                                                               8200 Greensboro Drive, Suite 820
                                                                               McLean, VA 22102
                                                                               703-485-3535
                                                                               703-485-3525 (fax)
                                                                               mroth@rothdonerjackson.com
                                                                               Assigned: 08/08/2019
                                                                               LEAD ATTORNEY
                                                                               ATTORNEY TO BE NOTICED


    Robb Evans & Associates LLC                                                James Wesley Brewer
    Added: 07/25/2019                                                          Kemp Smith LLP
    (Receiver)                                                                 P.O. Drawer 2800
                                                                               El Paso, TX 79999-2800
                                                                 represented   (915) 533-4424
                                                                 by            915-546-5360 (fax)
                                                                               jbrewer@kempsmith.com
                                                                               Assigned: 07/30/2019
                                                                               LEAD ATTORNEY
                                                                               ATTORNEY TO BE NOTICED


                                                                               Shelly W. Rivas
                                                                               Kemp Smith LLP
                                                                               221 N. Kansas
                                                                               Suite 1700
                                                                               El Paso, TX 79901
                                                                               (915) 533-4424
                                                                               (915) 546-5360 (fax)
                                                                               srivas@kempsmith.com



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  Centralized CM/ECF LIVE - U.S. District Court:ixwd-Query Parties                                                    Page 5 of 7



                                                                                   Assigned: 07/30/2019
                                                                                   LEAD ATTORNEY
                                                                                   ATTORNEY TO BE NOTICED


                                                                                   Ken K. Slavin
                                                                                   Kemp Smith, P.C.
                                                                                   221 North Kansas, Suite 1800
                                                                                   El Paso, TX 79901-1441
                                                                                   (915) 533-4424
                                                                                   915/546-5360 (fax)
                                                                                   kslavin@kempsmith.com
                                                                                   Assigned: 07/30/2019
                                                                                   LEAD ATTORNEY
                                                                                   ATTORNEY TO BE NOTICED


     Mohammad Souheil                                                              Genevieve C. Bradley
     individually and as an owner, officer,                                        Roth Jackson
     member, and/or manager of Prolink                                             8200 Greensboro Drive, Suite 820
     Vision, S.R.L.,                                                               McLean, VA 22102
                                                                     represented   703-485-3532
    Added: 07/18/2019                                                by            703-485-3525 (fax)
    (Defendant)                                                                    gbradley@rothjacicson.com
                                                                                   Assigned: 08/07/2019
                                                                                   LEAD ATTORNEY
                                                                                   ATTORNEY TO BE NOTICED


                                                                                   Daniel H. Hernandez
                                                                                   Ray, Valdez, McChristian & Jeans
                                                                                   A Professional Corporation
                                                                                   5822 Cromo,Suite 400
                                                                                   El Paso, TX 79912
                                                                                   915-832-7200
                                                                                   915-832-7333 (fax)
                                                                                   dhernandez@raylaw.com
                                                                                   Assigned: 07/30/2019
                                                                                   LEAD ATTORNEY
                                                                                   ATTORNEY TO BE NOTICED


                                                                                   Aldo R. Lopez
                                                                                   Ray, McChristian & Jeans, P.C.
                                                                                   5822 Crorno Dr.
                                                                                   El Paso, TX 79912
                                                                                   915-832-7200
                                                                                   915-832-7333 (fax)
                                                                                   alopez@raylaw.com
                                                                                   Assigned: 07/30/2019



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                                                                                   LEAD ATTORNEY
                                                                                   ATTORNEY TO BE NOTICED


                                                                                   Mitchell N. Roth
                                                                                   Roth Jackson Gibbons Condlin, PLC
                                                                                   8200 Greensboro Drive, Suite 820
                                                                                   McLean, VA 22102
                                                                                   703-485-3535
                                                                                   703-485-3525 (fax)
                                                                                   mroth@rothdonerjackson.com
                                                                                   Assigned: 08/08/2019
                                                                                   LEAD ATTORNEY
                                                                                   ATTORNEY TO BE NOTICED


     State of Ohio ex rel. Attorney                                                Erin B. Leahy
     General Dave Yost                                                             Office of the Attorney General
     Added: 07/18/2019                                                             Consumer Protection
     (Plaintiffl                                                                   30 E. Broad Street, 14th Fl
                                                                                   Columbus, OH 43215
                                                                     represented
                                                                                   614-752-4730
                                                                     by
                                                                                   866-768-2648 (fax)
                                                                                   erin.leahy@ohioattomeygeneral.gov
                                                                                   Assigned: 07/29/2019
                                                                                   LEAD ATTORNEY
                                                                                   ATTORNEY TO BE NOTICED


                                                                                   Jeffrey Loeser
                                                                                   Ohio Attorney General
                                                                                   30 East Broad Street, 14th Floor
                                                                                   Columbus, OH 43215
                                                                                   614-728-1172
                                                                                   877-650-4712 (fax)
                                                                                   jeffrey.loeser@ohioattomeygeneral.gov
                                                                                   Assigned.• 07/29/2019
                                                                                   LEAD ATTORNEY
                                                                                   ATTORNEY TO BE NOTICED


    Tripletel, Inc.
    a Delaware corporation

    Added: 07/18/2019
    (Defendant)


                                                         PACER Service Center
                                                           Transaction Receipt


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  Centralized CM/ECF LIVE - U.S. District Court:bavd-Query Parties                                           Page 7 of 7



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                                  PACER                                          Client
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                                  Login:
                                                                                     Search      3:19-cv-
                                  Description: Party List
                                                                                     Criteria:   00196-KC
                                  Billable
                                                                                     Cost:       0.20
                                  Pages:




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